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                   EXPERT REPORT
               JERRY OVERTON, Ph.D., P.G.


                               DRAFT
                        AA Auto, Inc.
                             v.
                    Union Pacific Railroad


                               Prepared for:
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                        Expert Report Prepared by
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Report Date: January 5, 2016
ATOKA Project # 15-237                                  EXHIBIT 1
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1.0    INTRODUCTION AND REPORT OBJECTIVES
1.1    Introduction
My name is Jerry Overton and I reside at 112 Waggoner, Hot Springs, Arkansas 71913. I am the
President, Senior Hydrogeologist, and Remediation Specialist employed by ATOKA, Inc.
(ATOKA). I have been with ATOKA in this position since its inception in January 1994.
ATOKA is an engineering and environmental consulting firm with offices in Hot Springs
(Corporate), Little Rock, and El Dorado, Arkansas. In preparing this report I relied on tasks
completed by employees of ATOKA under my supervision. Whenever I use the term ATOKA, I
am including my work and that of employees directly under my supervision.

I received a Bachelor’s of Science degree in Geography, with an emphasis in Physical
Geography, from Oklahoma State University and a Master of Science degree in Geography, with
an emphasis in hydrology and land use management, in 1970 and 1971, respectively, and a Ph.D.
in Geography, with an emphasis in hydrology and land use management, from the University of
Oklahoma in 1980. I conducted Post-Doctoral Studies at Oklahoma State University in
Hydrogeology in 1985-1986 and completed a second Master of Science degree in Geology at
Oklahoma State University, with an emphasis in hydrogeology, in 1989.

As a consultant, I have been responsible for conducting numerous projects which were directly
related to environmental evaluations and land use management. I have taught many university
level courses in hydrology, water resources management, land use management, geology, and
hydrogeology; including graduate level courses.

I have been accepted as an expert in land use planning, hazardous waste management,
hydrology, geology, and hydrogeology and have been admitted as an expert in both Circuit and
Federal Court on numerous occasions. I am a Registered Professional Geologist (Arkansas,
Louisiana, Mississippi, Missouri, and Texas) and a Certified Professional Geologist by the
American Institute of Professional Geologists, a nationwide certification. I am also a Certified
Hazardous Waste Manager. My Expert Witness Case Disclosures (Appendix A), Resume
(Appendix B), and the Standard Fee Schedule for ATOKA (Appendix C) are attached to this
report. This report provides my analysis and review of documents and my conclusions derived
thereof. In the report to follow, when the term ATOKA is used, it refers to my work and any
discussions or other assistance I may have had with other employees of ATOKA, Inc. (ATOKA)
or the Plaintiff’s Attorneys during the evaluation of documents and the derivation of my
opinions.

I was requested to review documents provided by the attorney and Plaintiff, and to gather and
evaluate any additional information necessary to determine the source and extent of stormwater
flooding on property owned by AA Auto, Inc. at 8125 Highway 161, North Little Rock,
Arkansas 72117.




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1.2      Report Objectives
The primary objectives of this expert report are to determine:

      1. The source of flooding to the property located at 8125 Highway 161, North Little Rock,
         Arkansas.

      2. Reclamation actions necessary to alleviate flooding of this site.

This report may be further supplemented if additional information is received or developed by
the Plaintiffs or from any other sources and made available to the Plaintiffs. In the case of a
supplement to this report the objectives, conclusions, and/or recommendations may also be
modified accordingly.




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2.0      DOCUMENTS EVALUATION AND BACKGROUND

2.1      Document Evaluations
ATOKA was asked by the Attorney for the Plaintiff to review documents pertinent to this case,
including current and historical aerial photographs, current and historical site specific
topographic surveys, and any relevant documents that ATOKA could retrieve or prepare from
these or other sources. Additional revisions may be necessary if any additional documents are
acquired and are reviewed by ATOKA following the completion and submission of this report.

2.2      Documents Provided by Attorney
The list of all of the documents which were provided by the Attorney and/or Plaintiff at the time
of this report's original publication, and which were reviewed for this report, are provided in
Appendix D.

2.3      Documents Generated by ATOKA
ATOKA has been able to identify and review documents readily available, including, but not
limited to: current and historical aerial imagery through Google Earth and the United States
Geological Survey (USGS) Earth Explorer, current and historical U.S. Geological Survey
1:24,000 topographic maps, and the U.S. Department of Agriculture, Soil Conservation Service,
Soil Survey for Pulaski County, Arkansas (Appendix E). ATOKA also utilized a site specific
topographic survey generated by a licensed registered surveyor in the State of Arkansas.

A list of the documents identified and reviewed by ATOKA regarding the evaluation of
stormwater flooding associated with railroads and roads, the area geology, soils, and hydrology
is also provided in Appendix D, as a separate list. Some of the documents in Appendix D have
been cited in this report; others in the appendix were reviewed by ATOKA but not cited.

2.4      Document Review
A review of selected historical documents is included in Section 4.

Key documents provided the majority of the data concerning the degree and extent of erosion
and sedimentation, including:

      1. A site specific limited topographic survey of the Plaintiff's properties, the subject Union
         Pacific Railroad double box culvert, and the drainage ditch from the north side of the
         railroad tracks to its culvert at the Waste Management road.
      2. Railroad and State of Arkansas regulations
      3. Best Management Practices literature regarding maintenance of railroad facilities.




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3.0       SITE LOCATION, GEOLOGY, SOILS, AND HYDROLOGY

3.1    Site Location
The geographic location of the Plaintiff property is provided in Figure 1. The AA Auto, Inc.
property is located in the SW ¼ of the SE ¼ of the SW ¼ of Section 2, Township 2 North, Range
11 West. The specific location of the AA Auto, Inc. property is latitude 34.825173, longitude -
92.155460. The site dimensions are approximately 165 feet by 1,000 feet and constitute 6.6
acres. A map showing the location of the subject property, and the Union Pacific Railroad
double box culvert that drains the watershed within the property is provided as Figure 1.

3.2       Geology
The subject site is generally located in central Arkansas and is within the Bayou Meto watershed
on the western edge of the Mississippi River Alluvial Plain.

The 1:24,000 Geologic Map of the McAlmont Quadrangle (Haley, B. R., and Stone, C. G., 1994)
indicates that the surface geology of the site is Quaternary - Holocene age, meandering river
channel and floodplain sediment deposits. These are clay, silt, and sand deposits of variable
thickness which rest unconformably on top of older alluvial deposits.

3.3       Soils
The U.S. Department of Agriculture, Natural Resources Conservation Service Custom Soil
Resource Report for Pulaski County, Arkansas and the United States Department of Agriculture,
Natural       Resources       Conservation      Service       (NRCS)        on-line      database
(http://websoilsurvey.nrcs.usda.gov) were used to provide information on the soils at the AA
Auto, Inc. site and the surrounding property. The soils indicated to be present on or near the AA
Auto, Inc. site are the:

         Moreland silty clay;

         Rilla silt loam, 0 to 1 percent slopes;

         Rilla-Urban land complex, 0 to 1 percent slopes.

See Appendix E for the detailed summary of the soils and the soil maps as a part of the full
NRCS Soil Report. Figure 2 also presents site topography and soils as depicted by the NRCS
Soil Report.

The primary soils underlying the AA Auto, Inc. property and surrounding sites are the Rilla silt
loam and the Rill-Urban land complex. ATOKA was able to visibly identify and characterize the
soils and the current state of erosion during a site visit on November 12, 2015.

Just beyond the northern property line is the approximate surficial contact between the Moreland
silty clay and the Rilla silt loam. Although the map indicates that the Moreland silty clay is not
on the property, it is likely that the Moreland silty clay can be found to extend southward onto

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the property throughout the subsurface. This is due to the cut-bank and point-bar depositional
characteristic of the meandering river from which these sediments came.

The Moreland silty clay formation (Me on Figure 2) is most commonly associated with
slackwater areas and has a concave downslope shape and convex across slope shape. The
sediment originated from clayey alluvium (sediment deposited by a river system) and typically
progresses from a silty clay near the surface, to a silty clay loam near 41 to 43 inches in depth,
and then to a loamy sand between 58 and 72 inches in depth. This soil drains somewhat poorly,
has a low runoff, and is classified as prime farmland by the NRCS. See the NRCS Custom Soil
Resource Report in Appendix E for more details.

The most prominent soil at the surface of the AA Auto, Inc. property is the Rilla silt loam (RmA
on Figure 2). This soil consists morphologically of 0 to 1 percent slopes with linear down-slope
shape and concave across-slope shape, and is a natural levee former in the region. It is classified
as well-drained with its most restricting layer having a moderately high hydraulic conductivity
factor. The Rilla silt loam remains a silt loam throughout its profile and contains approximately
five (5) percent Calcium Carbonate. Please refer to Appendix E for complete details regarding
this soil as given by the NRCS’ Custom Soil Resource Report.

The Rilla-Urban land complex (RuA on Figure 2) is the next most prominent soil at the surface
of the AA Auto, Inc. property, extending from just south of Jacksonville Highway 161 northward
where it contacts the Rilla silt loam just beyond the back of the AA Auto, Inc. building. The
complex, in terms of the Rilla-Urban land complex, means that the unit “consists of two or more
soils or miscellaneous areas in such an intricate pattern or in such small areas that they cannot be
shown separately on maps” (Soil Survey Staff, 2015). This soil is a silt loam originating from
loamy alluvium and is a natural levee former like the Rilla silt loam, but has a convex shape
down-slope and across-slope. This soil is well drained and has a moderately high to high
hydraulic conductivity factor in its most restrictive layer.

Please refer to Appendix E to verify this information and for more details on the soils
surrounding the AA Auto, Inc. properties, including a soils map; Figure 2 of this expert report
also provides a map of the soils along with topographic contour lines.

All photos collected by ATOKA on November 12, 2015 and December 17, 2015 can be viewed
in Appendix F. Also included in Appendix F are photographs provided to ATOKA by the
Plaintiff; photos taken by ATOKA and photos provided by the Plaintiff will be labeled and
discussed separately in the appendix.




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3.4    Hydrology
The AA Auto, Inc. property and surrounding sites are located within the Fivemile Creek-Bayou
Meto watershed (HUC12 - 080204020104). The Fivemile Creek-Bayou Meto watershed, which
has an area of approximately 25,115 acres, is a sub-watershed of the larger Bayou Meto
watershed (HUC8 – 08020402) that is displayed in Figure 3a, and is the most local watershed
affected by the maintenance practices of the Union Pacific Railroad at this location (WBD,
2015). The portion of the Fivemile Creek-Bayou Meto watershed which includes the AA Auto,
Inc. and surrounding properties, the Union Pacific Railroad double box culvert, the Waste
Management landfill, and the engineered drainage ditches, is displayed in Figure 3. The Bayou
Meto watershed converges with the Arkansas River near Gillett, Arkansas.

Rainfall on and within the immediate vicinity of the AA Auto, Inc. site will flow north and east
to the Union Pacific Railroad double box culvert where it is directed to the northwest along the
southwest side of the Waste Management Two-Pine landfill via drainage ditch and culvert. The
water then enters a larger drainage ditch along the northwest side of the landfill and is routed to
the northeast until its confluence with the Bayou Meto; the journey from the Union Pacific
double box culvert to the confluence with the Bayou Meto is approximately 10,307 linear feet.
The terraforming of the area due to the landfill, the development of I-440 and Hwy 67/167, and
the Union Pacific railroad track has altered the natural flow of surface water such that the
drainage of the land is dependent on trestles, culverts, and manmade drainage ditches.
Management and maintenance of these trestles, culverts, and drainage ditches is crucial to proper
drainage of the area.




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4.0    DISCUSSION OF DOCUMENTS REVIEWED

ATOKA reviewed each of the documents listed in Appendix D. The topographic maps and the
aerial photographs were reviewed to determine the directions of surface water flow at the subject
site and to understand the general setting of the site as well as the general gradients in the
immediate area of the AA Auto, Inc. property and flow within the immediate watershed. The soil
survey provided significant information regarding the types of soil present and their
characteristics. The site visit of November 12, 2015 confirmed the information derived from
these sources.

A topographic survey was undertaken by an Arkansas Professional Surveyor on staff with
Development Consultants, Inc. This survey was used to determine the precise location and
elevation of the Union Pacific Railroad double box culvert of concern and the AA Auto, Inc.
property. A preliminary reclamation plan has been developed to re-establish stormwater flow
through the immediate watershed and to institute additional Best Management Practices (BMPs)
for the Union Pacific Railroad to maintain stormwater flow through the box culvert draining the
watershed. The topographic survey information was used to determine the elevation of the
concrete base of the Union Pacific Railroad concrete box culvert and the elevation of the AA
Auto, Inc. property. A surface elevation for the sediment buildup obstructing the double box
culvert will be gathered for comparison with the original concrete double box culvert base and
the elevation of the AA Auto, Inc. property. When the double box culvert is properly
maintained, the water level within the drainage basin, which includes the AA Auto, Inc.
property, should be lower than the lowest elevation of the AA Auto, Inc. property for most of
each year.

A review of available documents regarding blockage of bridges, culverts, and trestles was
undertaken. It was found that Diehl (1997) has already published the results of a full literature
review dealing with drift (debris) accumulation at bridges. This study was carried out through
the USGS between 1992 and 1995. This study was in cooperation with the Federal Highway
Administration.

When building bridges, whether for highways or for railroads, potential debris field review is
crucial. This includes consideration of the upstream watershed and structures (Defra, 2004). The
character of this watershed must be evaluated, not only at the time of construction, but
periodically during the life of the bridge. Likewise, the bridge must be inspected and the
condition of the flow way portion of the bridge must be determined, including any blockage. If
blockage is determined to be present, it should be removed as quickly as possible. This is
discussed in detail in the Federal Railroad Administration Track Safety Standards Compliance
Manual (2002). In Chapter 5, Subpart B, Section 213.33 Drainage, this manual states “Each
drainage or other water carrying facility under or immediately adjacent to the roadbed must be
maintained and kept free of obstruction, to accommodate expected water flow for the area
concerned.” This section goes on to itemize the application and states “Drainage openings must


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also be inspected and notice given where debris has accumulated to such an extent that expected
water flow cannot be accommodated.”

This is also discussed in the BNSF Railway – Union Pacific Railroad Guidelines for Railroad
Grade Separation Projects (2007). In Section 4.5 this guidance states that “Maintaining the
integrity of the Railroad drainage system is extremely important. The proposed construction
shall safely pass high flows and not inhibit low flows or alter the path of the existing drainage
system.”

The Track Safety Standards Compliance Manual (2002) also provides the inspectors items that
they should take note of during inspections. These include:

      Right-of-way ditches
      Culvert, trestles and bridge inlets
      Water carrying structures or passageways
      Outlets or tail ditches
      Berm ditches
      Scouring of embankments, pilling or piers in channels or at abutments
      Filling in of passageways from silting, sand wash, or debris.

Railroads are required to inspect their bridges. The 49 CFR Chapter II (10-1-09 Edition) in Part
237.101 “Scheduling of Bridge Inspections” (2009), states that inspections of bridges should take
place at least once every year. This same regulation in Paragraph (e) “…requires that the bridge
inspection shall be placed in the location designated in the bridge management program within
120 days of the completion of the field portion of the inspection.”

Individual states have weighed in on this concern. States have recognized that both highways
and railroads can, and have, caused undue problems associated with surface water. Wisconsin
(2010) in Chapter 88, Drainage of Lands, for example, states in Section 88.87 (1) that the
“…legislature finds that it is necessary to control and regulate the construction and drainage of
all highways and railroad grades so as to protect property owners from damage to lands caused
by unreasonable diversion or retention of surface waters due to a highway or railroad grade
construction…”.




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5.0    TOPOGRAPHIC SURVEY

An Arkansas Registered Professional Land Surveyor with Development Consultants, Inc. was
hired by the Defendants, per the recommendation of ATOKA, to conduct a topographic survey
of portions of the subject properties. An ATOKA Engineering Technician accompanied the
surveying crew to the site on December 17, 2015 to show where topographic surveying should
be undertaken, and to make sure that all points required were attained by the survey crew. The
survey was primarily performed to determine the exact elevation of the Union Pacific Railroad
concrete double box culvert and the AA Auto, Inc. property. The topographic survey and review
of necessary railroad maintenance and potential BMPs allowed ATOKA to recommend
necessary remedial actions.

The topographic survey information was imported to AutoCAD and analyzed by ATOKA’s
engineering and environmental staff. The data provided by Development Consultants, Inc.
allowed for calculations regarding the necessary reclamation needs for controlling stormwater
flow through the Union Pacific Railroad double box culvert to allow for the proper drainage of
the portion of the Fivemile Creek-Bayou Meto watershed affected by the culvert and subsequent
drainage system.

The results of the topographic survey can be seen in Figures 5 through 10.




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6.0    SURFACE WATER FLOW AND RAILROAD MAINTENANCE

6.1     Historical Surface Water Flow
Historically, the AA Auto, Inc. property would drain to the north and east to a Union Pacific
Railroad box culvert before traveling west into the wetlands on the east side of Brushy Island.
From these wetlands the water would drain north into Kellogg Creek and then into the Bayou
Meto (USGS, 1954). This historical drainage appears to have been dependent on the same
Union Pacific railroad box culvert in 1954 as it is today. The drainage into Kellogg Creek was
rerouted via channelization during or sometime soon after the construction of state highway
67/167. This is the channel drainage that is still used today between the Waste Management
landfill and state highway 67/167 to transport water directly to Bayou Meto.

Historical aerial photographs were not useful in determining whether the water level within the
watershed did reach the north end of the AA Auto, Inc. property due to the thickness of the
woodland canopy which extends from the northern AA Auto, Inc. property line to the southern
edge of the railroad. This is also true for more recent aerial photography of the area. The
Plaintiff claimed that many of the hardwoods within the watershed are now dying due to the lack
of dry conditions during the growing season. During the November 12, 2015 site visit many
hardwoods were observed to be dead or dying (see photos in Appendix F). The limbs from
dying hardwoods are further contributing to the clogging of the railroad box culvert.

Much of the overland flow within the watershed is currently trapped due to excessive
sedimentation at the Union Pacific Railroad box culvert that drains this watershed. During the
site visit on November 12, 2015 and subsequent topographic surveying of the site, it was found
that the Union Pacific Railroad box culvert located immediately south of the southern corner of
the Waste Management landfill was silted and clogged with sticks to approximately one and a
half (1.5) feet from the top of the concrete box culvert (see Photo 17 in Appendix F). The silt
accumulated in this box culvert and in front of the culvert should be removed back to the base of
the concrete box culvert. The same box culvert on the west side had a clearance of
approximately three (3) feet and should also be cleaned to the base of the concrete box culvert.
All silt and clogging materials beneath the box culvert should be removed and disposed outside
of the watershed. These height values were measured during the survey; the results can be seen
on Figures 9 and 10.

The survey results for the Waste Management culvert and drainage ditch, the Union Pacific
Railroad concrete box culvert, and the AA Auto, Inc. property are provided as Figures 5 through
10.




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6.2     Findings
During the November 12, 2015 site visit ATOKA personnel observed a nearly fully silted-in
Union Pacific Railroad concrete box culvert located near the south corner of the Waste
Management landfill. This observation is confirmed by the topographic survey conducted by
Development Consultants, Inc on December 10, 2015. This Union Pacific Railroad box culvert
serves to drain the small watershed between the Union Pacific Railroad and Highway 161, and
from the Waste Management crossing north of I-440, used by Waste Management to cross the
railroad to gain access to their source of soils for use on the landfill, to a narrowing of the
watershed behind the White Bag facility to the south. This area is shown in Figures 1, 2, and 3.

Excessive sedimentation of the Union Pacific Railroad box culvert and the area immediately
south of this box culvert, has resulted in inadequate drainage of the portion of the local
watershed which surrounds AA Auto, Inc. This blockage has resulted in an increase in the
overall depth of water trapped within the watershed and the flooding of a significant portion of
the AA Auto, Inc. facility which renders the affected portion unusable by AA Auto, Inc. This
blockage should be removed from within the box culvert and on either side in order for the
watershed to drain normally, and to reduce the level of standing water on the AA Auto, Inc.
property.

The topographic survey indicates that the bottom of the Union Pacific Railroad concrete box
culvert opening is 239.34 feet above sea level at both the north and south openings (see Figures 9
and 10). The lowest portion of the AA Auto, Inc. property on its north side has an elevation of
244.16 feet above sea level (see Figure 5). Therefore, if the sediment accumulated within the
railroad box culvert and in front of this box culvert (immediately up gradient) was removed and
the box culvert fully maintained over time, the stormwater would no longer be impounded within
this portion of the watershed and the AA Auto, Inc. property would not be flooded for extended
periods each year.

Beavers are present within the greater area of the site, possibly within the flooded area between
Highway 161 and the Union Pacific Railroad as well as north of the railroad and southwest of the
landfill. An attempt to identify beaver activity during the November 12, 2015 site visit resulted
in only a single tree showing evidence of gnawing by what is assumed to be beaver. In addition,
several trees show evidence of past beaver activity, however, these were all very old based on the
condition of the tree and the coloration of the activity. There seems to be very little evidence of
beaver activity in the watershed containing the AA Auto, Inc. facility, however, it is possible that
the debris beneath the box culvert in question is partially the result of beaver activity.

Regardless of whether beaver activity contributed to the blockage of the box culvert, the Union
Pacific Railroad has a responsibility to maintain its facilities in order to protect the land which
depend on them. The obstruction or failure of a facility is not only detrimental to its purpose but
to personal property, the environment, and to health and safety.



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6.3    Required Reclamation Actions
The portion of Fivemile Creek-Bayou Meto watershed in the vicinity of the AA Auto, Inc.
property only drains through the Union Pacific Railroad box culvert located near the south corner
of the Waste Management landfill. This railroad box culvert is responsible for draining water
from the south side of the railroad into an engineered drainage ditch along the southwest side of
the landfill. The water flows to the north through this drainage and enters another drainage ditch
at the north side of the landfill which carries water northeast directly into the Bayou Meto. This
box culvert consists of one double reinforced concrete box culvert with six (6) foot by six (6)
foot openings. The south side of this box culvert has approximately one and a half (1.5) feet of
clearance above the silt that has accumulated within the culverts. This same silt, due to the
blockage, has built up in front of the concrete box culvert as well.

The blockage of the concrete box culvert must be opened in order for the watershed to drain
properly. This will require a trackhoe to excavate the silt from the front of the box culvert on
both side of the railroad. In addition, the trackhoe will have to be used to excavate the silt
accumulation on the southeast side in front of the box culvert to approximately 30 feet beyond
the box culvert. The area beneath the concrete box culvert must also be cleaned. The silt is up to
approximately 3.6 feet deep on the south side and up to approximately two (2) feet deep on the
north side as surveyed (see Figure 9). That means that two to four feet of silt should be removed
throughout the length of the concrete box culvert beneath the railroad. This will likely require a
bobcat type excavator to completely clean the concrete box culvert.

On the north side of the double box culvert, Waste Management has recently cleaned the
drainage up to the landfill road. The flowline of the culvert at the landfill road was surveyed to
be 240.21 feet amsl, making it 0.87 feet amsl higher in elevation than the flowline of the concrete
railroad box culvert, which has an elevation of 239.34 feet amsl (see Figure 8). This drainage
may have to be deepened to allow stormwater to flow beyond the cleaned out box culvert. If so,
the Waste Management road culvert will have to be lowered to the base of this drainage to assure
continuous flow of stormwater through the channel. Otherwise, the height of the culvert will
result in the blockage of the drainage creating an impoundment within the drainage. This will
then create a blockage of flow through the culvert and result in the back up of stormwater onto
the south side of the railroad box culvert and maintain flooding of the watershed south of the
Union Pacific Railroad.

All sediments excavated from within the box culvert and to the south of the box culvert will have
to be loaded onto rail cars or onto trucks if they can be mobilized along the Union Pacific
Railroad grade between the existing tracks. If the excavated sediments are stockpiled along the
railroad grade adjacent to the railroad, they will simply be eroded back into the drainage and will
again block the flow through the box culvert. In addition, the area south of the Union Pacific
Railroad grade is a wetlands. Prior to beginning these operations, a responsible person should
make contact with the U.S. Army Corps of Engineers (USACE) regarding the excavation and
whether any additional permits must be acquired in association with the Clean Water Act.


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7.0     BEST MANAGEMENT PRACTICES

7.1     Best Management Practices (BMPs)
For the community, it is important for railroads to assure that all efforts are made to avoid
problems that would affect neighbors of the railroad. This would include actions or inactions on
the part of the railroad.

For the railroad itself, it is important to not create situations that would result in the compromise
of the railroad and its facilities or equipment. Again, this would include both direct-actions or
inactions on the part of the railroad.

The lack of maintenance for concrete box culverts that would result in the accumulation of debris
and the long term sedimentation of the culvert would impact both the immediate community and
could result in damage to the railroad’s facilities. The impact to the community is the
impoundment of stormwater up-gradient of the concrete box culvert that would flood properties
for long periods of time that would perhaps only experience flooding for a few days at a time.
This impoundment, if it paralleled the railroad grade could result in the saturation of the grade
subsoils to the extent that the ballast of the railroad tracks are weakened and which might
eventually fail.

BNSF Railway – Union Pacific Railroad Guidelines for Railroad Grade Separation Projects
(2007) states, “Maintaining the integrity of the Railroad drainage system is extremely
important”. Allowing a drainage to be blocked for long enough to almost fully silt in the box
culvert creates an impoundment that not only inundates private property and opens the railroad to
liability, but also floods an area longitudinal to the railroad tracks which can result in the long
term detriment to the railroad grade.


7.2     Control of Blockage of the Union Pacific Railroad Double Box Culvert
It is essential to implement maintenance measures that assure the Union Pacific Railroad
concrete double box culvert, which drains the watershed that includes the AA Auto, Inc.
property, is open to stormwater flow at all times. When this culvert is blocked, stormwater is not
allowed to exit the watershed and floods properties within the watershed. In the case of the
Union Pacific Railroad box culvert located near the south corner of the Waste Management
landfill, the blockage is currently to within approximately 1.5 feet amsl from the top of the
culvert opening on the south side and 3 feet amsl on the north side. Unable to flow sufficiently
through the culvert, suspended sediment is deposited in, and near the mouth of, the culvert.
ATOKA estimates the area affected by this deposition to extend about 30 feet from the southern
mouth of the culvert.

Regardless of the cause of this blockage, it is the responsibility of the Union Pacific Railroad to
maintain its culverts. Maintenance of culverts is not only the physical maintenance of the
structure, but also the assurance that flow through the culvert is maintained as originally
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designed. Maintenance of the culvert allows the ecosystem up-gradient of the culvert to remain
as unaffected as possible. By allowing the blockage of the culvert, not only is private property
inundated for long periods of time each year, but the overall ecosystem of the watershed is
impacted. Wetland vegetation, including bottomland hardwoods, is damaged. If this damage is
continued for a long period of time, the bottomland hardwoods will be destroyed. This
destruction is proof of the ongoing impact the blockage of the culvert is having on the watershed.
Again, this impoundment is causing higher surface water levels that are inundating private
property within the watershed.


7.3       Railroad Maintenance and Best Management Practices
Best Management Practices (BMPs) are those actions or activities that protect the facility and its
environment. For drainage ditches, bridges, culverts, and trestles it is very important to prevent
transported debris from colliding with the structure and from clogging the structure. Collisions
with debris, especially during flooding events where debris velocity is increased, will damage the
structure, both immediately and gradually, and reduce its effectiveness. The clogging of a
drainage structure results in the impounding of the water body which the structure is meant to
drain, causing flooding upstream of the structure. Clogging can occur in several ways;
commonly, larger objects such as tree limbs, cobbles or boulders, and trash will amass in and
around the structure. The blockage of the structure with larger objects results in the
accumulation of smaller objects such as sticks and leaves, smaller pieces of trash, and pebbles
and gravels. Once the structure is sufficiently clogged with larger objects, sedimentation will
begin to occur at the water body’s point of contact with the structure and upstream. The
reduction in flow velocity of the water causes suspended sediment to be deposited and eventually
fills in the mouth of the structure with debris and sediment rendering it ineffective in draining the
land upstream.

Two categories of debris countermeasures exist according to the U.S. Highway Department of
Transportation: structural countermeasures and non-structural countermeasures (USDOT, 2005).
Structural countermeasures are engineered structures installed at culverts, trestles, and bridges to
prevent or reduce debris from entering the culvert, trestle, or bridge. Several designs exist for
structural countermeasures, each one being ideal for different applications and environments
(USDOT, 2005).

Non-structural countermeasures are quite basic; the U.S. Department of Transportation says,
“The only type of non-structural measures available for culvert structures is to provide
emergency and annual maintenance” (USDOT, 2005).                 Because no structural debris
countermeasure exists at the railroad box culvert questioned in this report, a non-structural
countermeasure approach must be taken. Union Pacific must conduct emergency maintenance
on this box culvert to mitigate the debilitating effect such cloggage is having on the upstream
catchment basin. Such emergency maintenance involves the removal of debris from within,
around and upstream of the box culvert, as well as any sediment which has amassed as a result of

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the clogged box culvert. Once emergency maintenance has been completed Union-Pacific must
adopt an annual maintenance plan for the cleaning of the box culvert.

Another reason for keeping railroad and highway drainage structures functioning as they were
designed to, i.e. free of debris, is to prevent the elevation of the water immediately upgradient of
the box culvert and the railroad grade from encroaching on the rail, or road, bed. For the Union
Pacific Railroad box culvert and railroad grade in this study, approximately one mile along the
railroad grade abut to the subject flooded watershed, impounded water is likely saturating the
railroad grade. This level of water against the railroad grade can result in a weakening of the
railroad ballast and subsequent failure of the structure. The BMP here is, again, the removal of
the blockage of the box culvert causing the impoundment and raised level of the surface water
adjacent to the railroad grade.

There are several items that should be included in any erosion control and sedimentation plan.
These include:
    Housekeeping items
    Minimizing exposure
    An emergency action plan
    Preservation of topsoil for site reclamation
    Erosion Control Measures
    Sediment Control Measures
    Stabilization Practices
    Structural Practices
    Schedule of construction activities
    Schedule of BMP implementation
Each of these items can include numerous subcategories and specific BMPs that can be
implemented for a specific site. This is especially true for erosion and sediment control
measures and stabilization and structural practices. A wide range of BMPs are available for
inclusion based on specific site conditions and needs.




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8.0       CONCLUSIONS AND RECOMMENDATIONS OF DR. OVERTON

8.1    General Conclusions
The following conclusions are made from the reviews and evaluations undertaken for the AA
Auto, Inc. site and the Union Pacific Railroad box culvert:

         The Union Pacific Railroad box culvert located at approximately the south corner of the
          Waste Management landfill is excessively clogged with debris and sediment.

         The sediment effect extends to the south for approximately 30 feet, perhaps more.

         The clogging and sedimentation of this box culvert blocks the flow of stormwater from
          the local watershed south of the box culvert, and increases the elevation of the
          impounded water onto properties within this watershed.

         The AA Auto, Inc. facility was surveyed to have elevations on its north side of 244.29,
          244.39, 244.16 feet from west to east, respectively. The base of the Union Pacific
          Railroad concrete box culvert has an elevation of 239.34 feet amsl. If the box culvert
          were properly maintained, the elevation of stormwater would not encroach onto the AA
          Auto, Inc. facility except for short term flooding resulting from heavy precipitation
          events.

         The sedimentation of the Union Pacific Railroad box culvert effectively blocks the
          drainage of stormwater from the local watershed south of the box culvert, causing the
          impounding of water to unnatural levels for extended periods of time.

         The impounding of water by the blockage of the Union Pacific Railroad box culvert
          causes the level of water within the local watershed south of the box culvert to rise and
          remain at elevated levels flooding properties for extended periods of time and rendering
          some of these properties unusable.

         The AA Auto, Inc. property has been impacted by higher water levels for extended
          periods of time due to the blockage of the Union Pacific Railroad box culvert that
          represents the only drainage for the affected portion of the local watershed south of its
          location.

8.2     Recommendations
The photographs collected during the site visit on November 12, 2015 clearly show that the
Union Pacific Railroad box culvert located near the south corner of the Waste Management
landfill is blocked by sediment. This blockage creates an impoundment of the south side of the
railroad effectively increasing the elevation of water within the watershed. This increase in
water level causes some property to be flooded for extended periods of time; even after drainage,
wet soil conditions render the property unusable for intended and historic purposes.


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In order to alleviate this problem, the following activities, at minimum, should be undertaken:

      The sediments and debris within the Union Pacific Railroad box culvert and sediment
       built up on the south side of the box culvert must be removed and the box culvert cleared
       so that normal stormwater flow is returned and then maintained.

      The sediment on the north side of the box culvert must be excavated and removed and the
       drainage ditch maintained by Waste Management must be deepened so that normal flow
       through the box culvert is maintained without ponding on the north side of the box
       culvert.

      All sediments excavated must be hauled from the site so that the erosion of stockpiled
       sediments does not result in the re-entering of those sediments to the watershed.

      Biannual inspection should be conducted to evaluate the state of the box culvert. Any
       debris and sediment within the culvert should be removed and hauled away.




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9.0       PROFESSIONAL OPINIONS OF DR. OVERTON

I have evaluated the site and ATOKA has prepared, under my direction, specific evaluations of
the subject properties. Specific opinions are provided below:

         It is my opinion, based on these evaluations, that excessive debris and sedimentation of
          the Union Pacific Railroad box culvert has taken place that effectively blocks the
          drainage of the portion of the watershed south of the railroad box culvert.

         The blockage of the Union Pacific Railroad box culvert results in the impoundment of
          stormwater within the affected watershed.

         Blockage of the drainage through the Union Pacific Railroad box culvert results in the
          increased elevation of stormwater within its affected watershed and the flooding of
          properties within that watershed.

         The Union Pacific Railroad box culvert, sediments deposited in front of this box culvert,
          and sediments deposited on the down gradient side of this box culvert must be excavated
          to return the drainage to its designed stormwater flow regime.

         It may also be necessary to further excavate the down gradient drainage on the Waste
          Management Landfill property to assure that additional impounding does not result from
          this drainage sedimentation. A culvert within this drainage will likely have to be lowered
          to facilitate effective drainage.

         All sediments removed from the box culvert and to the south and east of the box culvert
          must be hauled from the area rather than being stockpiled at the excavation site.

         Biannual inspection should be conducted to evaluate the state of the box culvert. Any
          debris and sediment within the culvert should be removed and hauled away.




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                      Certification and Documentation
                                      CERTIFICATION


Dr. Overton’s fee is $150 per hour plus expenses.




Jerry Overton, PhD


Prepared this January 5, 2016




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                                  Figures
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                                                             d
                                                           oa
                                                        ilr
                                                      Ra




             WASTE MANAGEMENT
                  LANDFILL




                                         POI: Double 6' X 6'
                                              Box Culvert




                                                                               FIGURE 1 - SITE MAP
       d
     oa
  ilr
Ra
                                                    Case 4:21-cv-00471-JM Document 17-1 Filed 07/05/22 Page 26 of 111



Wt                                          Wt                                                                                0
                                                                                                                    27
                                                                                                                       0   26
                                                                                                             280


Pe
            LdB
                         SuC                                                                                                                                        270            Me


        0
     25
                                                                                                                                                                    TaB




                                                                                                                                                                    250
                                                                                       Me
                  Pe




                                                                                                                                                                  260
                                0
                             24


                                                                        0
                                                                     25                                                                                                           RmA




                                                                                               RmA   AA Auto, Inc.




                                                                                                                                               260
                                                                                                                                                      Legend                  RmA
                                                     RuA




                                                                                                                                              270
                                                                                                                                                             Soil Boundary
                                                                                                                                                             10ft Elevation Contours
                                                                                                                   Pe
       FIGURE 2 - Topography & Soils                                                                                       Ko - Keo silt loam, 0 to 1 percent slopes, rarely flooded




                                                                                                                                  250


                                                                                                                                        260
                  AA Auto, Inc.                                                                                            LdB - Leadvale-Urban land complex, 1 to 3 percent slopes
                                                                                                                           Me - Moreland silty clay
                  Sherwood, AR
                                                                                                                           Pe - Perry clay, 0 to 1 percent slopes, rarely flooded
                                                                                                                           RmA - Rilla silt loam, 0 to 1 percent slopes
                       2695 Airport Road                                                                                   RuA - Rilla-Urban land complex, 0 to 1 percent slopes
                       Hot Springs, AR 71913-9272                                                                          SuC
                       501-623-1121                                                    Ko                                    Ko - Smithdale-Urban land complex, 3 to 8 percent slopes
                                                                                                                           TaB - Tiak fine sandy loam, 1 to 3 percent slopes
Date: 1/5/2016                 Job No.: 15-237                                                                             Wt - Wrightsville silt loam
                                                                                                                                                                                Pe
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                                             PROPERTY




   LEGEND
        Railroad
                                                                                                  FIGURE 3 - Site Hydrography
  Unnamed Tributaries

      Water Bodies

Fivemile Creek - Bayou Meto
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                                                                            ¯
                   Jacksonville        AA Auto, Inc.

              North Little Rock
          Little Rock
                                                       Ba
                                                          yo
                                                          Me u
                                                            to
                                                             Wa
                                                                te
                                                                 rs h
                                                                  ed
                                    Ark
                                      nsa
                                        as
                                          Ri v
                                              er




    FIGURE
FIGURE       3a - Hydrography
       3a - Regional  Hydrography
             AA Auto, Inc.
             Sherwood, AR

                     2695 Airport Road
                     Hot Springs, AR 71913-9272
                     501-623-1121

Date: 12/29/2015             Job No.: 15-237
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                                                                    FIGURE 4 - FEMA Flood Maps
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                                                                    FIGURE 5 - Property Elevation
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          PROPERTY LINE                                                     AA AUTO OFFICE
                                                                           FINISHED FLOOR
                                                                               ELEV. 247.52
          AA AUTO




                             EXISTING GROUND




                                                        AA AUTO PROPERTY




                                                                                              FIGURE 6 - STA. 21+00 To AA Auto, Inc. Property


STA. 21+00 TO AA AUTO PROPERTY
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    5' x 8' x 46'
R.C. BOX CULVERT
 Flow Line 239.34




              TOP OF RAILROAD
              EMBANKMENT

                                                    CURRENT IMPOUNDED
                                 EXISTING                 WATER LEVEL                            STA. 20+46.81
                                 SILT/DEBRIS                                                     ELEV. 242.384
                                 LEVEL




                                                          APPROXIMATE
                                                ORIGINAL GROUND LEVEL
                        5' x 8' x 46'
                    R.C. BOX CULVERT
                     Flow Line 239.34




                                                                                                                 FIGURE 7 - STA. 8+00 To STA. 22+00

                          STA. 8+00 TO STA. 22+00
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                                                                                 5' x 8' x 46'
     84" CMP                                                                 R.C. BOX CULVERT
     Flow Line 240.21                                                         Flow Line 239.34




                                                                                              TOP OF RAILROAD
                                                                                                EMBANKMENT        EXISTING
                                                                                                                  SILT/DEBRIS
                                                                                                                  LEVEL
84" CMP
Flow Line 240.21        DRAINAGE DITCH FLOW LINE




                                                                                                  5' x 8' x 46'
                                                                                              R.C. BOX CULVERT
                                                                                               Flow Line 239.34




                                                                                                                                FIGURE 8 - Pipe Drain To STA. 13+00
                                     PIPE DRAIN TO STA. 13+00
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              NORTH SIDE
            ELEVATION VIEW




                                                                    FIGURE 9 - Union Pacific Railroad Box Culvert




               SOUTH SIDE
             ELEVATION VIEW
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NORTH SIDE                                                                       SOUTH SIDE


                             BOX CULVERT
                             SECTION VIEW

                                                                                              FIGURE 10 - Union Pacific Box Culvert Section View
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                               Appendix A
                   Expert Witness Case Disclosures
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                     Cases in which Jerry Overton, Ph.D.
                        Served as an Expert Witness
                         Within the Past Five Years
     Valley View Rental, LLC vs. Colonial Pipeline Company
     Clinton, LA
     Expert Report Prepared
     Deposition Taken                                      Negotiated Settlement 2014

     Roger E. Price, et al vs. Roy O. Martin, L.P. et al
     Alexandria, LA
     Expert Report Prepared

     Ronald Buck vs. United States of America, Federal Emergency Management Agency,
     City of Hope Arkansas, and Clearbrook, LLC
     Hope, Arkansas
     Expert Report Prepared                                 Negotiated Settlement 2012

     Richard N. Hargraves III, As Administrator of the Estate of Richard N. Hargraves, Jr.,
     Deceased vs. Concord Water and Public Facilities Board, Engineering Design
     Management Consultants, Inc. d/b/a/EDM Consultants, Inc., John Doe 1; John Doe 2;
     John Doe 3
     Report Prepared
     Deposed 2012                                             Negotiated Settlement 2012

     Rose Davis et. al. vs. Edward Levy Metals Incorporated
     U.S. Court of Federal Claims
     New Orleans, Louisiana
     Expert Report Prepared
     Deposed: 2011 and 2012                                                Trial Pending

     Arkansas Oil and Gas Commission Hearings
     Peak Water Systems, Inc.
     Provided Expert Testimony Geology and Hydrogeology 2012

     Arkansas Oil and Gas Commission Hearings
     Poseidon Energy Systems, Inc.
     Provided Expert Testimony Geology and Hydrogeology 2011

     Oklahoma Foreign Auto Sales, et al v. T Bear 1-2, LLC et. al.
     Circuit Court
     Moore, Oklahoma
     Report Prepared                                          Negotiated Settlement 2011

     Big Oak Farm, Inc. vs. U. S. Government and the U. S. Corps of Engineers
     U. S. Court of Federal Claims
     Cape Girardeau, Missouri
     Expert Report being prepared
     Depositions Pending                                                  Trial Pending
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     Massey et al vs. Winrock Development et al
     Sherwood, Arkansas
     Circuit Court
     Expert Report Submitted
     Deposed: 2009                                               Negotiated Settlement 2010

     Ballard et al v. Eastern Tank Services et al
     Branch, Arkansas
     Circuit Court
     Expert Report Submitted
     Deposition Completed                                        Negotiated Settlement 2010

     Grover Smith et. Al. vs. Berg Laney & Brown et. Al.
     Circuit Court, El Dorado, Arkansas
     Expert Report Submitted                                     Negotiated Settlement 2012

     Estate of Self vs. NATIONAL Coal County, LLC
     Cheyenne, Oklahoma
     Circuit Court                                                    Negotiated Settlement

     Eden Isle, et al vs. U.S. and the U.S. Corps of Engineers
     Heber Springs, Arkansas
     Federal Court
     Expert Report Submitted
     Deposition Pending
     Testified in Federal Court                                            Trial in Progress

     The George Family Trust vs. U.S.
     Federal Court
     Clarendon, Arkansas
     Expert Report Submitted
     Deposition Pending                                                       Trial Pending
                                                                 Negotiated Settlement 2009

     Dale and Carol Oliger et al vs. Arkana et al
     Circuit Court
     Clinton, Arkansas
     Expert Report Submitted                                     Negotiated Settlement 2010

     Rhonda Brasel, et al vs. Weyerhaeuser Company, et al
     District Court
     Nashville, Arkansas
     Expert Report Submitted
     Deposed: 2010                                               Negotiated Settlement 2010

     Harry Stephens Farms, Inc. et al vs. Wormald American, Inc. et al
     Federal Court
     West Helena, Arkansas
     Deposition Completed                                                     Trial Pending
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     Stephens et al vs. Greg Williams, et al
     Circuit Court
     Cushing, Oklahoma
     Deposition Completed

     Barbara Fortney vs. Greg Williams, et al
     Circuit Court
     Cushing, Oklahoma
     Deposition Completed                                   Negotiated Settlement 2011

     SDI Hot Springs, LLC vs. B&F Engineering, Inc. and
     The Garland County Fair & Livestock Show Association, Inc.
     US District Court
     Western District of Arkansas, Hot Springs Division
     Hot Springs, Arkansas
     Expert Report Prepared                                Negotiated Settlement 2012
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                               Appendix B
                                   Resume
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                                 DR. JERRY OVERTON, CPG
                                   Geologist/Hydrogeologist

Dr. Overton has more than 30 years’ experience as a professional Environmental Scientist /
Hydrogeologist. His experience includes; environmental site characterizations for contaminated
soils, surface water and groundwater; designing and installing groundwater monitoring well
systems; evaluating facility hazardous/solid waste sites and permitting; conducting hazardous/solid
waste site searches; and conducting oil field environmental site characterizations, reclamation
design and providing site reclamation oversight. Dr. Overton also has extensive experience with
aquifer characterization assessments, NORM surveying, surface and downhole geophysical studies,
aquifer testing/evaluations, groundwater sampling QA/QC plans and implementation, solute
transport and groundwater modeling. Dr. Overton taught for more than 13 years at the
University/College level and currently teaches Senior and Graduate levels courses at the University
of Arkansas at Little Rock on an interim basis. Dr. Overton provides litigation support and expert
witness services and regulatory agency negotiations. His specific project experience includes the
following:

GROUNDWATER / SOIL / GEOLOGY INVESTIGATIONS
Evaluation of soil and groundwater contamination from an injection well storage area, near Bristow,
       Oklahoma (Project Management, Hydrogeology, Litigation Support)
Evaluation of soil and groundwater contamination from a drilling fluids land spreading operation
       and impact on two freshwater sources, Fort Smith, Arkansas (Project Management,
       Hydrogeology, Litigation Support)
Class II Salt Water Injection Well Permit, Poseidon #1, Poseidon Energy, Little Rock, Arkansas
        (Project Management)
Class II Salt Water Injection Well Permit, Poseidon #2, Poseidon Energy, Little Rock, Arkansas
        (Project Management)
Landfarm Permitting, Plummerville Landfarm, Inc., Plummerville, Arkansas (Project Management)
Landfarm Permitting, Arkansas Resources Management, Searcy, Arkansas (Project Management)
Landfarm Permitting, Fayetteville Shale Landfarm, LLC, Searcy, Arkansas (Project Management)
Landfarm Permitting, Fayetteville Shale Landfarm, LLC, Lonoke, Arkansas (Project Management)
Industrial Park Design and Permitting, El Dorado Industrial Board, El Dorado, Arkansas (Project
        Management)
Class IV Landfill, Union County, Arkansas, Union County Judge, El Dorado, Arkansas (Project
       Management)
Class IV Landfill, L & W Construction, LLC, Little Rock, Arkansas (Hydrogeology)
Sand and Gravel Mining Permit, Fouke Aggregate, Fouke, Arkansas (Project Management)
Soils/Groundwater/NORM Investigations, RCRA Site, AJ&K Production Company, Smackover,
       Arkansas (Project Management)
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Groundwater/Geophysical Investigations for Class I Landfill, Allied Waste, Inc., Little Rock,
      Arkansas (Project Management)
Soils/Groundwater Investigations, Ligon Oil Company, Malvern, Arkansas (Project Management)
Highwall Evaluation/Remediation Following Major Highwall Slide, City of Hot Springs, (Project
      Management, Highwall Evaluation, Remediation/Reclamation, Funding Proposal for City
      Wide Highwall Evaluation)
Mining Geology, U. S. Vanadium (STRATCOR), Three Separate Mines, Hot Springs, Arkansas
      (Project Management)
Mining Geology/Mining Superintendent, Porocel Corporation/Englehard Corporation, Little Rock,
      Arkansas (Project Management)
Mining Geology, Geo-Specialties, Inc., Little Rock, Arkansas (Technical Assistance)
Soils/Groundwater Investigations, CERCLA Site, Hines Lumber Company / Mid-South Lumber
       Company, Mena, Arkansas (Technical Support)
Soils/Groundwater/NORM Investigations, RCRA Sites, (Four Projects) Bituminous Insurance
       Company, Smackover, Arkansas (Project Management)
Soils/Groundwater/NORM Investigations, RCRA Site, Beebe Oil Company, Norphlet, Arkansas
       (Project Management)
Soils Investigation, City of Little Rock (Broyles Park), Little Rock, Arkansas (Technical Support)
Soils/Surface Water/NORM Investigation, Clay Murphy, Smackover, Arkansas (Project
       Management)
Mine Reclamation, Englehard Corporation, Little Rock, Arkansas (Project Management)
Soils Investigation, Gee’s Landing, Crossett, Arkansas (Project Manager)
Soils Investigation, Tomblinson Center, Little Rock, Arkansas (Technical Support)
Soils/Groundwater/NORM Investigation, RCRA Site, Phillips 66 Oil Company, Lewisville,
       Arkansas (Project Management)
Soils/Groundwater/NORM Investigation, RCRA Site, Phillips 66 Oil Company, Urbana, Arkansas
       (Project Management)
Groundwater Flow and Recharge Investigation/Groundwater Modeling Evaluation, JWL Water,
      Pocahontas, Arkansas (Project Manager)
Soils/Groundwater/Geophysical Investigations, RCRA Site, Umetco Company, Hot Springs,
       Arkansas (Project Management)
Soils Investigation, Jacuzzi Company, Little Rock, Arkansas (Technical Support)
Hydrogeological Investigation, Jesse Fountain, Mt. Ida, Arkansas (Project Management)
Soils Investigation, Kirby Kwik Stop, Kirby, Arkansas (Project Management)
Soils/Groundwater Investigation, James Swindoll Law Firm, Royal, Arkansas (Project Management)
Soils/Groundwater/NORM Investigation, RCRA Site, Miller & Keffer, LLC, (Project Management)
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Soils/Groundwater Investigation, PAK Realty, El Dorado, Arkansas (Project Management)
Soils/Groundwater Investigation, RCRA Site, Parker Solvents Company, Little Rock, Arkansas
       (Project Management)
Soils/Groundwater/Hazardous Materials Investigation, RCRA Site, Amity Lacquer, Paint and
       Chemical Company/U.S. Bankruptcy Court, Northern District of Texas, Amity, Arkansas
       (Project Management)
Soils/Groundwater Investigation, Smith Fiberglass, Inc., Little Rock, Arkansas, (Project
       Management)
Soils/Groundwater Investigation, RCRA Site, Spurlock Adhesives, Inc., Malvern, Arkansas (Project
       Management)
Groundwater Flow and Recharge Evaluation/Groundwater Modeling, Berry Law Firm, Dumas,
      Arkansas (Project Management)
Soils/Groundwater Investigation, Lonnie Treadway, Bismark, Arkansas (Project Management)
Soils Investigation, University of Arkansas at Pine Bluff, Pine Bluff, Arkansas (Project
        Management)
Soils Investigation, CERCLA Site, Mercury Marine Company, Criner, Oklahoma (Technical
        Support)
Groundwater Investigation, RCRA Site, Mercury Marine Company, Stillwater, Oklahoma
      (Technical Support)
Soils/Groundwater/Geophysical Investigation, RCRA Site, Tenneco Oil Company, Stillwater,
       Oklahoma (Technical Support)
Soils/NORM investigation, American Modern Insurance, Company, Emerson, Arkansas (Project
       Management)
Geophysical Investigation, Chambers Bank, Maumelle, Arkansas (Project Management)
Groundwater Investigation, Stauffer Chemical Company, Little Rock, Arkansas, (Project
      Management)

ENVIRONMENTAL SITE ASSESSMENTS (PHASE I, II & III)
Phase I and II, USA Truck, Inc, Van Buren, Arkansas
Phase I and II, Armstrong Tool Company, Illinois
Phase I, USA Truck, Inc, Dallas, Texas
Phase I, Chevrolet/Dodge Dealership, Searcy, Arkansas
Phase I, Armstrong Tool Company, McAlester, Oklahoma
Phase I, Armstrong Tool Company, Van Buren, Arkansas
Phase I, Affiliated Foods, Inc., Four Sites, South Central Mississippi.
Phase I, Hunter-Wasson, Inc., Arkadelphia, Arkansas
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Phase I, Stan Sweeney Property, Jersey, Arkansas
Phase II, STRATCOR (U.S. Vanadium), Hot Springs, Arkansas
Phase I, Arkansas Game and Fish Commission, Fort Chaffee, Arkansas
Phase I, Beavers Realty Company, Hot Springs, Arkansas
Phase I, AJ&K Oil Company, Smackover, Arkansas
Phase I, Phillips 66 Oil Company, Smackover, Arkansas
Phase I, II, & III, City of Little Rock, Arkansas (Boyles Park)
Phase I, Bulk SAK, Malvern, Arkansas
Phase I, City of Barling, Barling, Arkansas
Phase I, City of Thornton, Thornton, Arkansas
Phase I, Clay Murphy, Smackover, Arkansas
Phase I, II, & III, Columbia County, Magnolia, Arkansas
Phase I, Lake Ouachita State Park, Mt. Ida, Arkansas
Phase I, Mtn. Harbor, Lake Ouachita, Mt. Ida, Arkansas
Phase I, Schering Plough, Memphis, Tennessee
Phase I, U.S.A. Truck, Inc, El Paso, Texas
Phase I, U.S.A. Truck, Inc., El Paso, Texas
Phase I, U.S.A. Truck, Inc., El Paso, Texas
Phase I & II, U.S.A. Truck, Inc., Dayton, Ohio
Phase I, U.S.A. Truck, Inc., Collinsville, Pennsylvania
Phase I, U.S.A. Truck, Inc., Charleston, South Carolina
Phase I, Vulcan Aggregate, Russellville, Arkansas
Phase I, Vulcan Aggregate, Imboden, Arkansas
Phase I & II, Cleburn County Bank, Heber Springs, Arkansas
Phase I, El Dorado Chamber of Commerce, El Dorado, Arkansas
Phase I, El Dorado Chamber of Commerce, El Dorado, Arkansas
Phase I, Hilco Appraisal Services, Little Rock, Arkansas
Phase I, ARKLATX Oil Company, El Dorado, Arkansas
Phase I, Three Sisters Oil Company, Smackover, Arkansas
Phase I, Corley Trust, Smackover, Arkansas
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UNDERGROUND STORAGE TANK (UST) MANAGEMENT/STUDIES
UST Investigation, Buck Hetzler Property, Royal, Arkansas (Project Management)
UST Investigation, Air National Guard, Hot Springs, Arkansas (Project Management)
UST Investigation, Ligon Oil Company (Diamond Lakes Oil Company), Malvern, Arkansas (Project
      Management)
UST Investigation/Remediation, T. E. Smith, Magnolia, Arkansas (Project Management)
UST Investigation/Remediation, Buddy Bean Lumber Company, Hot Springs, Arkansas (Project
      Management)
UST Investigation, Chisenhall, Nestrud, & Julian, LLC, West Memphis, Arkansas (Project Manager)
UST Investigation/Remediation, Southwestern Bell, Inc., Hot Springs, Arkansas (Project
     Management)
UST Investigation/Remediation, Columbia County, Arkansas, Magnolia, Arkansas (Project
     Manager)
UST Investigation, Austin Valuation Consultants, Hot Springs, Arkansas (Project Manager)
UST Investigation, First National Bank of Mena, Boardcamp, Arkansas (Project Management)
UST Investigation, First National Bank of Mena, Hatfield, Arkansas (Project Management)
UST Investigation/Remediation, Helen Conry, Hot Springs, Arkansas (Project Management)
AST Investigation/Remediation, Kirby Kwik Stop, Kirby, Arkansas (Project Management)
UST Investigation, Swindoll Law Firm, Royal, Arkansas (Project Management)
UST Investigation/Remediation, PAK Realty, El Dorado, Arkansas (Project Management)
UST Investigation, Bell Law Firm, Magnolia, Arkansas (Project Management)
UST Investigation, Schering Plough, Inc., Memphis, Tennessee (Project Management)
UST Investigation, Lonnie Treadway, Bismark, Arkansas (Project Management)
UST Investigation, Cleburn County Bank, Heber Springs, Arkansas (Project Management)
UST Investigation/Remediation, Hays Rental and Sales, El Dorado, Arkansas (Project Management)
UST Investigation/Remediation, Hays Rental and Sales, Camden, Arkansas (Project Management)
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OIL FIELD INVESTIGATIONS
Evaluation of soil and groundwater contamination from an injection well storage area, near Bristow,
       Oklahoma (Project Management, Hydrogeology, Litigation Support)
Evaluation of soil and groundwater contamination from a drilling fluids land spreading operation
       and impact on two freshwater sources, Fort Smith, Arkansas (Project Management,
       Hydrogeology, Litigation Support)
Soil/NORM Investigation,      Atlanta   Exploration   Company,     Magnolia,    Arkansas    (Project
       Management)
Soil/Groundwater/NORM Investigation, AJ&K Operating Company, Smackover, Arkansas (Project
       Management)
NORM Investigation, American Modern Insurance Company, Emerson, Arkansas, (Project
    Management)
Soil/Groundwater/NORM Investigation, Langley Oil Company, Smackover, Arkansas (Project
       Manager)
Soil/Groundwater/NORM Investigation, Beebe Oil Company, Norphlet, Arkansas, (Project
       Management)
Soil/Groundwater/NORM Investigation, Berg, Laney & Brown Oil Company, Smackover, Arkansas
       (Project Management)
Soil/NORM Investigation, ARKLATX Oil Company, Smackover, Arkansas (Project Management)
Soil/NORM Investigation, Clay Murphy, Smackover, Arkansas
Soil/Groundwater/NORM Investigation, Corley Trust, Smackover, Arkansas
Soil/Groundwater/NORM Investigations, Phillips 66 Oil Company, Lewisville, Arkansas
Soil/Groundwater/NORM Investigations, Phillips 66 Oil Company, Urbana, Arkansas
NORM Investigation, Bituminous Insurance Company, El Dorado, Arkansas
NORM Investigation, Four K Operating Company, Smackover, Arkansas
Soil/Groundwater Investigation, Tenneco Oil Company, Stillwater, Oklahoma

LITIGATION
Litigation Support, Drilling Fluids release from injection well storage area, Bristow, Oklahoma (The
        Goodwin Law Firm, Oklahoma City, Oklahoma)
Litigation Support, OSHA Wrongful Death Case near Cheyenne, Oklahoma, Circuit Court
Litigation Support, Drilling Fluids Impact on Freshwater Supply, Fort Smith, AR, Smith, Cohen and
        Maurs, P.A., Fort Smith, AR
Litigation Support, Wastewater Treatment Impact on Treatment Facility, Decatur, AL, Watson &
        Graffeo, P.C., Huntsville, AL.
Litigation Support, Gas Well Production, Center Ridge, AR, Morgan Law Firm, Clinton, Arkansas
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Litigation Support, Resident Impacted by Groundwater Intrusion due to Utilities Work, Little Rock,
        AR Rose Law Firm, Little Rock, AR
Litigation Support, Residential Impacts from Adjacent Wood Treatment Plant, Deirks, Arkansas,
        Patton, Tridwell & Shrader, Texarkana, TX
Litigation Support, Flooding of Hardwood Timber in the Dave Donaldson Black River Wildlife
        Refuge, Arkansas Game and Fish Commission, Little Rock, Arkansas
Litigation Support, Groundwater and Soils Contamination with Chlorides and Heavy Metals, Rose
        Law Firm, Little Rock, Arkansas
Litigation Support, Train Derailment and Spill of Benzene, Jarrett Crawford Law Firm, Mobile,
        Alabama
Litigation Support, Soil Salting of Ornamental Bamboo Screen, Huckabay, Munson, Rowlett &
        Moore, P.A., Little Rock, Arkansas
Litigation Support, Stormwater Runoff and Pond Sedimentation, Law Offices of James Swindoll,
        Sherwood, Arkansas
Litigation Support, Underground Storage Tank, Underground Storage Tank, Soils, Groundwater,
        Diamond Lakes Oil Company, Malvern, Arkansas.
Litigation Support, Underground Storage Tank, Soils, Groundwater, Chisnehall, Nestrud, & Julian,
        LLC, Joplin, Arkansas
Litigation Support, Oil Fields, Soils/Groundwater/NORM Investigations, Bituminous Insurance
        Company, Smackover, Arkansas, Three Separate Suits Combined by Courts
Litigation Support, Hydrologic Investigation, Bituminous Insurance Company, Greenbrier, Arkansas
Litigation Support, Oil Fields, Soils/Groundwater/NORM Investigations, Bituminous Insurance
        Company, Smackover, Arkansas
Litigation Support, Underground Storage Tank, Soils, Groundwater, Law Offices of James Swindoll,
        Royal, Arkansas
Litigation Support, Oil Fields, Soils/Groundwater/NORM Investigations, Bituminous Insurance
        Company, Norphlet, Arkansas
Litigation Support, Soils Investigation, Bennett, Lotterhause, Sulser & Wilson, LLC, Hamilton,
        Mississippi
Litigation Support, Soils/Surface Water Investigations, Brady Lewis, Benton, Arkansas
Litigation Support, Underground Storage Tank, Soils/Groundwater, Chisnehall, Nestrud, & Julian,
        LLC, West Memphis, Arkansas
Litigation Support, Surface Water Investigation, Gables & Gottwalls, LLC, Wagoner, Oklahoma
Litigation Support, Soils Investigation, Gee’s Landing, Crossett, Arkansas
Litigation Support, Oil Fields, Soils/Groundwater/NORM Investigations, Perkins & Trotter, LLC,
        Lewisville, Arkansas
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Litigation Support, Oil Fields, Soils/Groundwater/NORM Investigations, Perkins & Trotter, LLC,
        Urbana, Arkansas
Litigation Support, Soils/Groundwater Investigations, Swindoll Law Firm, LLC, Royal, Arkansas
Litigation Support, Oil Fields, Soils/Groundwater/NORM Investigations, Miller & Keffer, LLC,
        Smackover, Arkansas
Litigation Support, Underground Storage Tank, Soils/Groundwater Investigations, Bell Law Firm,
        Magnolia, Arkansas
Litigation Support, Underground Storage Tank, Soils/Groundwater Investigations, Lonnie
        Treadway, Bismark, Arkansas
Litigation Support, Oil Fields, Soils/Groundwater Investigations, Tenneco Oil Company, Stillwater,
        Oklahoma
Litigation Support, Soils/Wetlands Investigations/Mining Permitting, Wright, Berry, Daniels,
        Hughes and Moore, LLC, Malvern, Arkansas
Litigation Support, Solute/Groundwater Transport Modeling, Fannie, Harper, and Martinson, LLC,
        Wichita, Kansas
Litigation Support, Surface Water/Soils, Law Offices of Howard Britain, Tyler, Texas

REGULATORY COMPLIANCE
Class IV Landfill, Union County, Arkansas, Union County Judge, El Dorado, Arkansas (Project
       Management)
Class IV Landfill, L & W Construction, LLC, Little Rock, Arkansas (Hydrogeology)
Sand and Gravel Mining Permit, Fouke Aggregate, Fouke, Arkansas (Project Management)
Class II Salt Water Injection Well Permit, Poseidon #1, Poseidon Energy, Little Rock, Arkansas
        (Project Management)
Class II Salt Water Injection Well Permit, Poseidon #2, Poseidon Energy, Little Rock, Arkansas
        (Project Management)
Landfarm Permitting, Plummerville Landfarm, Inc., Plummerville, Arkansas (Project Management)
Landfarm Permitting, Arkansas Resources Management, Searcy, Arkansas (Project Management)
Landfarm Permitting, Fayetteville Shale Landfarm, LLC, Searcy, Arkansas (Project Management)
Landfarm Permitting, Fayetteville Shale Landfarm, LLC, Lonoke, Arkansas (Project Management)
Industrial Park Design and Permitting, El Dorado Industrial Board, El Dorado, Arkansas (Project
        Management)
Stormwater Pollution Prevention Plan, Hunter-Wasson, Inc., Arkadelphia, Arkansas (Project
      Management)
Wetlands Delineation/Permitting, City of Maumelle / Pulaski County, Arkansas (Project
      Management)
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Wetlands Delineation/Permitting, Hurricane Lake Subdivision, Bryant, Arkansas (Project
      Management)
Wetlands Delineation/Permitting, City of El Dorado Chamber of Commerce, El Dorado, Arkansas
      (Project Management)
Mining Permit, Porocel Corporation, Little Rock, Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Clark Machinery, Inc., Little Rock, Arkansas (Project
      Management)
Air Permitting, Buddy Bean Lumber Company, Hot Springs, Arkansas (Project Manager)
NPDES Permit, Stormwater Pollution Prevention Plan, Spill Prevention Control and Counter
     Measures Plan, Above Ground Storage Tank Permitting, Columbia County, Arkansas,
     Magnolia, Arkansas (Project Management)
Stormwater Pollution Prevention Plan, Smith Abrasives, Hot Springs, Arkansas (Project
      Management)
Stormwater Pollution Prevention Plan, C. J. Horner, Company, Hot Springs, Arkansas (Project
      Management)
Air Permit, Porocel Corporation, Little Rock, Arkansas (Project Management)
Stormwater Pollution Prevention Plan, International Paper Company, Pine Bluff, Arkansas
      (Technical Assistance)
Stormwater Pollution Prevention Plan, International Paper Company, Fort Worth, Texas (Project
      Management)
Spill Prevention, Control and Counter Measures Plan, Stormwater Pollution Prevention Plan,
        Englehard Corporation, Little Rock, Arkansas (Project Management)
Stormwater Pollution Prevention Plan, Keith Smith Farms, Hot Springs, Arkansas (Project
      Management)
NPDES Permit, Stormwater Pollution Prevention Plan, Malvern Minerals Company, Hot Springs,
     Arkansas (Project Management)
Above Ground Storage Tank Permits, Tier II, Spill Prevention Control and Counter Measures Plan,
      Stormwater Pollution Prevention Plan, Parker Solvents Company, Little Rock and Fort
      Smith, Arkansas (Project Management)
Above Ground Storage Tank Permits, Spill Prevention Control and Counter Measures Plan,
      Stormwater Pollution Prevention Plan, Amity Lacquer, Paint and Chemical Company,
      Amity, Arkansas (Project Management)
Stormwater Pollution Prevention Plan, NPDES Permit, R. D. Plant Company, Murfreesburo,
      Arkansas (Project Management)
NPDES Permit, Stormwater Pollution Prevention Plan, Spill Prevention Control and Counter
     Measures Plan, S. F. Services, Inc., Little Rock, Arkansas (Project Management)
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NPDES Permit, Stormwater Pollution Prevention Plant, Spurlock Adhesives, Inc., Malvern,
     Arkansas (Project Management)
NPDES Permit, Stormwater Pollution Prevention Plan, H. G. Toler Company, Leola, Arkansas
     (Project Management)
Spill Prevention Control and Counter Measures Plan, Stormwater Pollution Prevention Plan, City of
        Hot Springs, Hot Springs, Arkansas (Project Management)
Mining Permit, Stormwater Pollution Prevention Plan, NPDES Permit, BB&B Construction
      Company, Hot Springs, Arkansas (Project Management)
NPDES Permit, Stormwater Pollution Prevention Plan, Spill Prevention Control and Counter
     Measures Plan, Mid-South Lumber Company, Mena, Arkansas (Technical Assistance)
NPDES Permit, Stormwater Pollution Prevention Plan, Spill Prevention Control and Counter
     Measures Plan, Thomason Lumber Company, Broken Bow, Oklahoma (Project Manager)
Stormwater Pollution Prevention Plan, Aermotor Pumps, Inc, Conway, Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Fiber Resources, Inc., Pine Bluff, Arkansas (Project
      Manager)
Stormwater Pollution Prevention Plan, Townsend of Arkansas, Batesville, Arkansas (Project
      Manager)
Stormwater Pollution Prevention Plan, Vivian Industries, Inc., Vivian, Louisiana (Project Manager)
Stormwater Pollution Prevention Plan, Alumacraft Boat Company, Arkadelphia, Arkansas (Project
      Manager)
Stormwater Pollution Prevention Plan, Aristech Chemical Corporation, Jacksonville, Arkansas
      (Project Manager)
Stormwater Pollution Prevention Plan, Consolidated Sawmill Machinery International, Inc., Hot
      Springs, Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Bean Lumber Company, Glenwood, Arkansas (Project
      Manager)
Stormwater Pollution Prevention Plan, Continental Systems Corporation, Jonesboro, Arkansas
      (Project Manager)
Stormwater Pollution Prevention Plan, Pine Bluff Crating and Pallet, Inc., Pine Bluff, Arkansas
      (Project Manager)
Stormwater Pollution Prevention Plan, R.J. Horner, Hot Springs, Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Searcy Crating and Pallet, Inc., Searcy, Arkansas (Project
      Manager)
Stormwater Pollution Prevention Plan, Simmons Lumber Company, Inc., Booneville, Arkansas
      (Project Manager)
Stormwater Pollution Prevention Plan, Curt Bean Lumber Company, Amity, Arkansas (Project
      Manager)
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Stormwater Pollution Prevention Plan, Norandal USA, Inc., Newport, Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Virco Manufacturing Corporation, Hanes Facility, Conway,
      Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Southwest Arkansas Electric Cooperative Corporation,
      Tollette Substation Site, Texarkana, Arkansas (Project Manager)
Stormwater Pollution Prevention Plan, Aermotor Pumps, Inc, Conway, Arkansas (Project Manager)

SOLID / HAZARDOUS WASTE
Class IV Landfill, Union County, Arkansas, Union County Judge, El Dorado, Arkansas (Project
       Management)
Class IV Landfill, L & W Construction, LLC, Little Rock, Arkansas (Hydrogeology)
Sand and Gravel Mining Permit, Fouke Aggregate, Fouke, Arkansas (Project Management)
Soil/Groundwater/Geophysical Investigations/Facility Permitting, Class I Landfill, Allied Waste,
       Inc., Little Rock, Arkansas (Project Management)
Soil/Groundwater/Geophysical Investigations, Hazardous Waste Landfill Permitting, U.S.P.C.I
       Landfill, Watonga, Oklahoma (Technical Assistance)
Soil/Groundwater Investigations, Hazardous Waste Landfill Site Location Identification, Stauffer
       Chemical Company, Little Rock, Arkansas (Project Management)
Soil/Groundwater Investigations, Class I Landfill Site Location, Hot Spring County, Malvern,
       Arkansas (Project Management)
Soil/Groundwater/Geophysical Investigations/Facility Permitting, Class I Landfill, Browning-Ferris
       Industries, Inc., Little Rock, Arkansas (Project Management)
Soil/Groundwater Investigations, Class IV Landfill, Acme Brick, Inc., Malvern, Arkansas (Technical
       Assistance)
Soil/Groundwater/Geophysical Investigations/Facility Permitting, Class IV Landfill, Umetco
       Company, Hot Springs, Arkansas (Project Management)
Soil/Groundwater Evaluations, Class I Landfill, Clinton, Arkansas (Project Management)
Soil/Groundwater Evaluations, Class I Landfill, Durham, Arkansas (Project Management)
Soil/Groundwater Investigations, Class IV Landfill, Riceland Foods Company, Stuttgart, Arkansas
       (Project Management)
Soil/Groundwater/Geophysical Investigations, Class I Landfill Closure, Perkins, Oklahoma
       (Technical Assistance)
Soil/Groundwater/Geophysical Investigations, Class I Landfill Closure, Stillwater, Oklahoma
       (Technical Assistance)
Soil/Groundwater/Geophysical Investigations, Class I Landfill, Stillwater, Oklahoma (Technical
       Assistance)
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Soil/Groundwater/Geophysical Investigations, Class I landfill, Tulsa, Oklahoma (Technical
       Assistance)
Soil/Groundwater/Geophysical Investigations, Southwest Oklahoma Landfill, Oklahoma City,
       Oklahoma (Technical Assistance)
Soil/Groundwater Evaluations, Class I Landfill, Wagoner, Oklahoma (Technical Assistance)
Soil/Groundwater Evaluations, Class I Landfill, Bartlesville, Oklahoma (Technical Assistance)

HYDROLOGY INVESTIGATIONS
Surface Water/Soils Investigation, Bituminous Insurance Company, Inc., Greenbrier, Arkansas
       (Project Management)
Surface Water/Soils/Groundwater Investigation, Dave Donaldson Black River Wildlife Management
       Area, Arkansas Game and Fish Commission, Pocahontas, Arkansas (Project Management)
Surface Water Quality Investigation, Baldwin Lake, Little Rock, Arkansas (Project Management)
Surface Water Quality Investigation, Englehard Corporation, Little Rock, Arkansas (Project
       Management)
Surface Water Quality Investigation, Brady Lewis Property, Benton, Arkansas (Project
       Management)
Surface Water Investigation, Gable and Gottwalls, LLC, Wagoner, Oklahoma (Project Management)
Surface Water Investigation/Remediation, R. D. Plant Company, Murfreesboro, Arkansas (Project
       Manager)
Surface Water Resources Investigation, Timber Recovery Incorporated, Crossett, Arkansas (Project
       Management)


TEACHING EXPERIENCE
Part Time (Adjunct), Department of Earth Science, University of Arkansas at Little Rock, 1991-
       Present (Senior / Graduate Level Courses in Hydrology and Hydrogeology)
Assistant Professor, Department of Geography, University of Central Arkansas, 1979-1984
Tenured Associate Professor, Department of Social Sciences, Cameron University, 1972 - 1979
Special Instructor, Department of Geography, University of Oklahoma (National Faculty Grant
       Recipient,1974), (Physical Geography and Honors Program Lecturer)
Instructor, Department of Geology, Ft. Hays Kansas State College, 1971 – 1972
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MISCELLANEOUS
Attended “Bioremediation of Hydrocarbon Contaminated Soils” Short Course by Integrated
       Petroleum Environmental Consortium (IPEC) (2006)
OSHA Health and Safety Plan Preparation, Hunter-Wasson, Inc., Arkadelphia, Arkansas (Project
     Management)
OSHA Confined Space Entry Plan Preparation, City of Hot Springs Downtown Tunnel, Hot Springs,
     Arkansas (Technical Assistance)
OSHA Health and Safety Plan/8 Hour Health and Safety Course, Parker Solvents Company, Little
     Rock, Arkansas (Project Management/Instructor)
OSHA Health and Safety Plan, University of Arkansas at Pine Bluff, Physical Plant, Pine Bluff,
     Arkansas (Technical Assistance)
OSHA Health and Safety Plan, Amity Lacquer, Paint and Chemical Company, Amity, Arkansas
     (Project Management)

EDUCATION
M.S., Oklahoma State University, 1989 Geology, Area of Specialization: Hydrogeology
(Post Doctoral Study) Oklahoma State University, 1985-1986, Department of Geology, Area of
       Specialization: Hydrogeology
Ph.D., University of Oklahoma, 1980 Geography, Areas of Specialization: Hydrology, Water
       Resources Development, Rural Land Use Planning
M.S., Oklahoma State University, 1971 Geography, Areas of Specialization: Physical Geography,
       Hydrology, Remote Sensing, Statistics
B.S., Oklahoma State University, 1970 Geography, Area of Specialization: Physical Geography

SOCIETIES / REGISTRATIONS / CERTIFICATIONS
American Institute of Professional Geologist (AIPG), Certified #CPG-9543
Arkansas Professional Geologist, #1248
Texas Professional Geoscientist, #3727
Missouri Registered Geologist, #RG0801
Mississippi Registered Geologist, #0139
Certified NORM Surveyor, Arkansas Department of Health #1878093
Certified Radiation Safety Officer (2004)
Stormwater Site Inspector, City of Hot Springs (2009)
National Ground Water Association (Member)
Certified Hazard Waste Manager (1987)
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Professional Safety Source, AWCC #0117
Environmental Site Assessment Certification (NWWA) (1988)
OSHA Certified (40 Hour Training) (1988)
OSHA Supervisors and Managers Certified (1990)
MSHA Certified (1990)
Confined Space Certified (1997)
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                                  Appendix C
                             Standard Fee Schedule
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                                                                      ATOKA, Inc.
                               STANDARD FEE SCHEDULE (EFFECTIVE January 1, 2013)
For Professional Engineering & Environmental Consulting Services, the compensation to ATOKA, Inc. will be the sum
of all of the items utilized and at rates as set forth below:

A.         PERSONNEL RATES                                                                                                             HOURLY RATE

           SENIOR PRINCIPAL ........................................................................................................................ $170.00
           SENIOR PROJECT MANAGER....................................................................................................... $155.00
           SENIOR ENGINEER......................................................................................................................... $155.00
           PROJECT ENGINEER ...................................................................................................................... $120.00
           STAFF ENGINEER ............................................................................................................................. $95.00
           ENGINEERING INTERN .................................................................................................................. $85.00
           ENGINEERING TECH 2 .................................................................................................................... $80.00
           ENGINEERING TECH 1 .................................................................................................................... $70.00
           CAD DRAFTER ................................................................................................................................. $ 65.00
           SENIOR GEOLOGIST/HYDROGEOLOGIST ................................................................................. $135.00
           PROJECT GEOLOGIST/HYDROGEOLOGIST .............................................................................. $120.00
           STAFF GEOLOGIST/HYDROGEOLOGIST ................................................................................... $100.00
           SENIOR MICROBIOLOGIST .......................................................................................................... $135.00
           PROJECT MICROBIOLOGIST ........................................................................................................ $120.00
           STAFF MICROBIOLOGIST ............................................................................................................... $75.00
           INDOOR AIR QUALITY CONSULTANT ...................................................................................... $135.00
           WETLANDS SPECIALIST ............................................................................................................... $135.00
           CHEMIST .......................................................................................................................................... $100.00
           ASBESTOS MANAGER/INSPECTOR ............................................................................................ $100.00
           ASBESTOS AIR MONITORING TECHNICIAN .............................................................................. $90.00
           ASBESTOS PLANNER..................................................................................................................... $120.00
           CERTIFIED INDUSTRIAL HYGIENIST ........................................................................................ $150.00
           INDUSTRIAL HYGIENIST                                                                                                                              $135.00
           LABORATORY TECHNICIAN ........................................................................................................ $ 75.00
           FIELD TECHNICIAN ........................................................................................................................ $ 80.00
           SURVEY CREW .............................................................................................................................. $ 150.00

      NOTES:
     1. Increase hourly rates by 1.5 for Saturday, Sunday and Holidays.
     2. Field Services provided after 6:00 p.m. and prior to 6:00 a.m. subject to surcharge rates.
     3. Deposition or Court Testimony at 1.5 times regular rate ( minimum of $ 150.00/hour).

B.     EXPENSES AND SUPPLIES:

    1. Vehicle charge (Local Area, within 25 miles of office) ........................................................................... $75.00/day
    2. Vehicle charge (Local Area, within 25 miles of office, less than 4 hours) .............................................. $50.00/day
    3. Vehicle charge (Outside Local Area) ........................................................................................................ $0.60/mile
    4. Per Diem, Lodging and Meals .......................................................................................... Minimum of $150.00/day
Miscellaneous charges, including analytical laboratory tests, shipping charges, rental equipment, outside labor, public
         transportation, materials or other contracted
         services...……………………………………………………………………………………………………………
                   cost + 20%

Printing Costs (Page Size) $0.15/page

C.     LABORATORY RATE SCHEDULE:

       ATOKA, Inc. Laboratory charges (Asbestos, Mold, Treatability, etc.) are published as separate fee schedules.
       These schedules will be provided upon request.
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                                  Appendix D
                              Documents Reviewed
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                                  Appendix E
                                   Soil Report
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United States
Department of
                A product of the National
                Cooperative Soil Survey,
                                               Custom Soil Resource
Agriculture     a joint effort of the United   Report for
                States Department of


Natural
                Agriculture and other
                Federal agencies, State
                agencies including the
                                               Pulaski County,
Resources
Conservation
Service
                Agricultural Experiment
                Stations, and local
                participants
                                               Arkansas




                                                               December 3, 2015
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  Preface
  Soil surveys contain information that affects land use planning in survey areas. They
  highlight soil limitations that affect various land uses and provide information about
  the properties of the soils in the survey areas. Soil surveys are designed for many
  different users, including farmers, ranchers, foresters, agronomists, urban planners,
  community officials, engineers, developers, builders, and home buyers. Also,
  conservationists, teachers, students, and specialists in recreation, waste disposal,
  and pollution control can use the surveys to help them understand, protect, or enhance
  the environment.
  Various land use regulations of Federal, State, and local governments may impose
  special restrictions on land use or land treatment. Soil surveys identify soil properties
  that are used in making various land use or land treatment decisions. The information
  is intended to help the land users identify and reduce the effects of soil limitations on
  various land uses. The landowner or user is responsible for identifying and complying
  with existing laws and regulations.
  Although soil survey information can be used for general farm, local, and wider area
  planning, onsite investigation is needed to supplement this information in some cases.
  Examples include soil quality assessments (http://www.nrcs.usda.gov/wps/portal/
  nrcs/main/soils/health/) and certain conservation and engineering applications. For
  more detailed information, contact your local USDA Service Center (http://
  offices.sc.egov.usda.gov/locator/app?agency=nrcs) or your NRCS State Soil
  Scientist (http://www.nrcs.usda.gov/wps/portal/nrcs/detail/soils/contactus/?
  cid=nrcs142p2_053951).
  Great differences in soil properties can occur within short distances. Some soils are
  seasonally wet or subject to flooding. Some are too unstable to be used as a
  foundation for buildings or roads. Clayey or wet soils are poorly suited to use as septic
  tank absorption fields. A high water table makes a soil poorly suited to basements or
  underground installations.
  The National Cooperative Soil Survey is a joint effort of the United States Department
  of Agriculture and other Federal agencies, State agencies including the Agricultural
  Experiment Stations, and local agencies. The Natural Resources Conservation
  Service (NRCS) has leadership for the Federal part of the National Cooperative Soil
  Survey.
  Information about soils is updated periodically. Updated information is available
  through the NRCS Web Soil Survey, the site for official soil survey information.
  The U.S. Department of Agriculture (USDA) prohibits discrimination in all its programs
  and activities on the basis of race, color, national origin, age, disability, and where
  applicable, sex, marital status, familial status, parental status, religion, sexual
  orientation, genetic information, political beliefs, reprisal, or because all or a part of an
  individual's income is derived from any public assistance program. (Not all prohibited
  bases apply to all programs.) Persons with disabilities who require alternative means



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  for communication of program information (Braille, large print, audiotape, etc.) should
  contact USDA's TARGET Center at (202) 720-2600 (voice and TDD). To file a
  complaint of discrimination, write to USDA, Director, Office of Civil Rights, 1400
  Independence Avenue, S.W., Washington, D.C. 20250-9410 or call (800) 795-3272
  (voice) or (202) 720-6382 (TDD). USDA is an equal opportunity provider and
  employer.




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  How Soil Surveys Are Made
  Soil surveys are made to provide information about the soils and miscellaneous areas
  in a specific area. They include a description of the soils and miscellaneous areas and
  their location on the landscape and tables that show soil properties and limitations
  affecting various uses. Soil scientists observed the steepness, length, and shape of
  the slopes; the general pattern of drainage; the kinds of crops and native plants; and
  the kinds of bedrock. They observed and described many soil profiles. A soil profile is
  the sequence of natural layers, or horizons, in a soil. The profile extends from the
  surface down into the unconsolidated material in which the soil formed or from the
  surface down to bedrock. The unconsolidated material is devoid of roots and other
  living organisms and has not been changed by other biological activity.
  Currently, soils are mapped according to the boundaries of major land resource areas
  (MLRAs). MLRAs are geographically associated land resource units that share
  common characteristics related to physiography, geology, climate, water resources,
  soils, biological resources, and land uses (USDA, 2006). Soil survey areas typically
  consist of parts of one or more MLRA.
  The soils and miscellaneous areas in a survey area occur in an orderly pattern that is
  related to the geology, landforms, relief, climate, and natural vegetation of the area.
  Each kind of soil and miscellaneous area is associated with a particular kind of
  landform or with a segment of the landform. By observing the soils and miscellaneous
  areas in the survey area and relating their position to specific segments of the
  landform, a soil scientist develops a concept, or model, of how they were formed. Thus,
  during mapping, this model enables the soil scientist to predict with a considerable
  degree of accuracy the kind of soil or miscellaneous area at a specific location on the
  landscape.
  Commonly, individual soils on the landscape merge into one another as their
  characteristics gradually change. To construct an accurate soil map, however, soil
  scientists must determine the boundaries between the soils. They can observe only
  a limited number of soil profiles. Nevertheless, these observations, supplemented by
  an understanding of the soil-vegetation-landscape relationship, are sufficient to verify
  predictions of the kinds of soil in an area and to determine the boundaries.
  Soil scientists recorded the characteristics of the soil profiles that they studied. They
  noted soil color, texture, size and shape of soil aggregates, kind and amount of rock
  fragments, distribution of plant roots, reaction, and other features that enable them to
  identify soils. After describing the soils in the survey area and determining their
  properties, the soil scientists assigned the soils to taxonomic classes (units).
  Taxonomic classes are concepts. Each taxonomic class has a set of soil
  characteristics with precisely defined limits. The classes are used as a basis for
  comparison to classify soils systematically. Soil taxonomy, the system of taxonomic
  classification used in the United States, is based mainly on the kind and character of
  soil properties and the arrangement of horizons within the profile. After the soil
  scientists classified and named the soils in the survey area, they compared the



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  individual soils with similar soils in the same taxonomic class in other areas so that
  they could confirm data and assemble additional data based on experience and
  research.
  The objective of soil mapping is not to delineate pure map unit components; the
  objective is to separate the landscape into landforms or landform segments that have
  similar use and management requirements. Each map unit is defined by a unique
  combination of soil components and/or miscellaneous areas in predictable
  proportions. Some components may be highly contrasting to the other components of
  the map unit. The presence of minor components in a map unit in no way diminishes
  the usefulness or accuracy of the data. The delineation of such landforms and
  landform segments on the map provides sufficient information for the development of
  resource plans. If intensive use of small areas is planned, onsite investigation is
  needed to define and locate the soils and miscellaneous areas.
  Soil scientists make many field observations in the process of producing a soil map.
  The frequency of observation is dependent upon several factors, including scale of
  mapping, intensity of mapping, design of map units, complexity of the landscape, and
  experience of the soil scientist. Observations are made to test and refine the soil-
  landscape model and predictions and to verify the classification of the soils at specific
  locations. Once the soil-landscape model is refined, a significantly smaller number of
  measurements of individual soil properties are made and recorded. These
  measurements may include field measurements, such as those for color, depth to
  bedrock, and texture, and laboratory measurements, such as those for content of
  sand, silt, clay, salt, and other components. Properties of each soil typically vary from
  one point to another across the landscape.
  Observations for map unit components are aggregated to develop ranges of
  characteristics for the components. The aggregated values are presented. Direct
  measurements do not exist for every property presented for every map unit
  component. Values for some properties are estimated from combinations of other
  properties.
  While a soil survey is in progress, samples of some of the soils in the area generally
  are collected for laboratory analyses and for engineering tests. Soil scientists interpret
  the data from these analyses and tests as well as the field-observed characteristics
  and the soil properties to determine the expected behavior of the soils under different
  uses. Interpretations for all of the soils are field tested through observation of the soils
  in different uses and under different levels of management. Some interpretations are
  modified to fit local conditions, and some new interpretations are developed to meet
  local needs. Data are assembled from other sources, such as research information,
  production records, and field experience of specialists. For example, data on crop
  yields under defined levels of management are assembled from farm records and from
  field or plot experiments on the same kinds of soil.
  Predictions about soil behavior are based not only on soil properties but also on such
  variables as climate and biological activity. Soil conditions are predictable over long
  periods of time, but they are not predictable from year to year. For example, soil
  scientists can predict with a fairly high degree of accuracy that a given soil will have
  a high water table within certain depths in most years, but they cannot predict that a
  high water table will always be at a specific level in the soil on a specific date.
  After soil scientists located and identified the significant natural bodies of soil in the
  survey area, they drew the boundaries of these bodies on aerial photographs and
  identified each as a specific map unit. Aerial photographs show trees, buildings, fields,
  roads, and rivers, all of which help in locating boundaries accurately.




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  Soil Map
  The soil map section includes the soil map for the defined area of interest, a list of soil
  map units on the map and extent of each map unit, and cartographic symbols
  displayed on the map. Also presented are various metadata about data used to
  produce the map, and a description of each soil map unit.




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                          92° 10' 20'' W
                                                                                                                                     Soil Map




                                                                                                                                                                                                                    92° 8' 33'' W
                          575700                575900          576100            576300           576500           576700       576900        577100    577300    577500    577700    577900    578100    578300
34° 50' 0'' N                                                                                                                                                                                                                                 34° 50' 0'' N
                3854800




                                                                                                                                                                                                                                    3854800
                3854600




                                                                                                                                                                                                                                    3854600
                3854400




                                                                                                                                                                                                                                    3854400
                3854200




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                3854000




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                3853800




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                3853600




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                3853400




                                                                                                                                                                                                                                    3853400
                3853200




                                                                                                                                                                                                                                    3853200
34° 49' 3'' N                                                                                                                                                                                                                                 34° 49' 3'' N

                     575700                    575900          576100           576300           576500            576700       576900        577100    577300    577500    577700    577900    578100    578300
                          92° 10' 20'' W




                                                                                                                                                                                                                    92° 8' 33'' W
                                               Map Scale: 1:12,400 if printed on A landscape (11" x 8.5") sheet.
                                                                                                                     Meters
                                           N   0         150          300                       600                900
                                                                                                                      Feet
                                               0         500        1000                     2000                  3000
                                               Map projection: Web Mercator Corner coordinates: WGS84 Edge tics: UTM Zone 15N WGS84
                                                                                                                                          8
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                            MAP LEGEND                                                                 MAP INFORMATION
Area of Interest (AOI)                          Spoil Area                            The soil surveys that comprise your AOI were mapped at 1:20,000.
            Area of Interest (AOI)
                                                Stony Spot
Soils                                                                                 Warning: Soil Map may not be valid at this scale.
                                                Very Stony Spot
            Soil Map Unit Polygons
                                                Wet Spot                              Enlargement of maps beyond the scale of mapping can cause
            Soil Map Unit Lines
                                                Other                                 misunderstanding of the detail of mapping and accuracy of soil line
            Soil Map Unit Points                                                      placement. The maps do not show the small areas of contrasting
                                                Special Line Features                 soils that could have been shown at a more detailed scale.
  Special Point Features
                                     Water Features
            Blowout
                                                Streams and Canals                    Please rely on the bar scale on each map sheet for map
            Borrow Pit                                                                measurements.
                                     Transportation
            Clay Spot
                                                Rails
                                                                                      Source of Map: Natural Resources Conservation Service
            Closed Depression
                                                Interstate Highways                   Web Soil Survey URL: http://websoilsurvey.nrcs.usda.gov
            Gravel Pit                                                                Coordinate System: Web Mercator (EPSG:3857)
                                                US Routes
            Gravelly Spot
                                                Major Roads                           Maps from the Web Soil Survey are based on the Web Mercator
            Landfill                                                                  projection, which preserves direction and shape but distorts
                                                Local Roads
                                                                                      distance and area. A projection that preserves area, such as the
            Lava Flow
                                     Background                                       Albers equal-area conic projection, should be used if more accurate
            Marsh or swamp                      Aerial Photography                    calculations of distance or area are required.

            Mine or Quarry
                                                                                      This product is generated from the USDA-NRCS certified data as of
            Miscellaneous Water                                                       the version date(s) listed below.
            Perennial Water
                                                                                      Soil Survey Area: Pulaski County, Arkansas
            Rock Outcrop                                                              Survey Area Data: Version 12, Sep 28, 2015
            Saline Spot
                                                                                      Soil map units are labeled (as space allows) for map scales 1:50,000
            Sandy Spot                                                                or larger.
            Severely Eroded Spot
                                                                                      Date(s) aerial images were photographed:      Mar 5, 2010—Aug 3,
            Sinkhole                                                                  2010
            Slide or Slip
                                                                                      The orthophoto or other base map on which the soil lines were
            Sodic Spot
                                                                                      compiled and digitized probably differs from the background
                                                                                      imagery displayed on these maps. As a result, some minor shifting
                                                                                      of map unit boundaries may be evident.




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              Map Unit Legend
                                              Pulaski County, Arkansas (AR119)

      Map Unit Symbol                 Map Unit Name                   Acres in AOI              Percent of AOI
Ko                            Keo silt loam, 0 to 1 percent                           59.5                        9.6%
                                slopes, rarely flooded
Ku                            Keo-Urban land complex                                   0.5                        0.1%
LdB                           Leadvale-Urban land complex, 1                           7.1                        1.2%
                                to 3 percent slopes
LdC                           Leadvale-Urban land complex, 3                           0.6                        0.1%
                                to 8 percent slopes
Me                            Moreland silty clay                                    235.4                       38.0%
Pe                            Perry clay, 0 to 1 percent slopes,                     137.6                       22.2%
                                rarely flooded
RmA                           Rilla silt loam, 0 to 1 percent                         46.7                        7.5%
                                slopes
RuA                           Rilla-Urban land complex, 0 to 1                        91.0                       14.7%
                                percent slopes
SuC                           Smithdale-Urban land complex,                           14.7                        2.4%
                               3 to 8 percent slopes
TaB                           Tiak fine sandy loam, 1 to 3                            23.4                        3.8%
                                percent slopes
W                             Water                                                    1.1                        0.2%
Wt                            Wrightsville silt loam                                   1.3                        0.2%
Totals for Area of Interest                                                          619.1                       100.0%




              Map Unit Descriptions
              The map units delineated on the detailed soil maps in a soil survey represent the soils
              or miscellaneous areas in the survey area. The map unit descriptions, along with the
              maps, can be used to determine the composition and properties of a unit.
              A map unit delineation on a soil map represents an area dominated by one or more
              major kinds of soil or miscellaneous areas. A map unit is identified and named
              according to the taxonomic classification of the dominant soils. Within a taxonomic
              class there are precisely defined limits for the properties of the soils. On the landscape,
              however, the soils are natural phenomena, and they have the characteristic variability
              of all natural phenomena. Thus, the range of some observed properties may extend
              beyond the limits defined for a taxonomic class. Areas of soils of a single taxonomic
              class rarely, if ever, can be mapped without including areas of other taxonomic
              classes. Consequently, every map unit is made up of the soils or miscellaneous areas
              for which it is named and some minor components that belong to taxonomic classes
              other than those of the major soils.
              Most minor soils have properties similar to those of the dominant soil or soils in the
              map unit, and thus they do not affect use and management. These are called
              noncontrasting, or similar, components. They may or may not be mentioned in a


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  particular map unit description. Other minor components, however, have properties
  and behavioral characteristics divergent enough to affect use or to require different
  management. These are called contrasting, or dissimilar, components. They generally
  are in small areas and could not be mapped separately because of the scale used.
  Some small areas of strongly contrasting soils or miscellaneous areas are identified
  by a special symbol on the maps. If included in the database for a given area, the
  contrasting minor components are identified in the map unit descriptions along with
  some characteristics of each. A few areas of minor components may not have been
  observed, and consequently they are not mentioned in the descriptions, especially
  where the pattern was so complex that it was impractical to make enough observations
  to identify all the soils and miscellaneous areas on the landscape.
  The presence of minor components in a map unit in no way diminishes the usefulness
  or accuracy of the data. The objective of mapping is not to delineate pure taxonomic
  classes but rather to separate the landscape into landforms or landform segments that
  have similar use and management requirements. The delineation of such segments
  on the map provides sufficient information for the development of resource plans. If
  intensive use of small areas is planned, however, onsite investigation is needed to
  define and locate the soils and miscellaneous areas.
  An identifying symbol precedes the map unit name in the map unit descriptions. Each
  description includes general facts about the unit and gives important soil properties
  and qualities.
  Soils that have profiles that are almost alike make up a soil series. Except for
  differences in texture of the surface layer, all the soils of a series have major horizons
  that are similar in composition, thickness, and arrangement.
  Soils of one series can differ in texture of the surface layer, slope, stoniness, salinity,
  degree of erosion, and other characteristics that affect their use. On the basis of such
  differences, a soil series is divided into soil phases. Most of the areas shown on the
  detailed soil maps are phases of soil series. The name of a soil phase commonly
  indicates a feature that affects use or management. For example, Alpha silt loam, 0
  to 2 percent slopes, is a phase of the Alpha series.
  Some map units are made up of two or more major soils or miscellaneous areas.
  These map units are complexes, associations, or undifferentiated groups.
  A complex consists of two or more soils or miscellaneous areas in such an intricate
  pattern or in such small areas that they cannot be shown separately on the maps. The
  pattern and proportion of the soils or miscellaneous areas are somewhat similar in all
  areas. Alpha-Beta complex, 0 to 6 percent slopes, is an example.
  An association is made up of two or more geographically associated soils or
  miscellaneous areas that are shown as one unit on the maps. Because of present or
  anticipated uses of the map units in the survey area, it was not considered practical
  or necessary to map the soils or miscellaneous areas separately. The pattern and
  relative proportion of the soils or miscellaneous areas are somewhat similar. Alpha-
  Beta association, 0 to 2 percent slopes, is an example.
  An undifferentiated group is made up of two or more soils or miscellaneous areas that
  could be mapped individually but are mapped as one unit because similar
  interpretations can be made for use and management. The pattern and proportion of
  the soils or miscellaneous areas in a mapped area are not uniform. An area can be
  made up of only one of the major soils or miscellaneous areas, or it can be made up
  of all of them. Alpha and Beta soils, 0 to 2 percent slopes, is an example.
  Some surveys include miscellaneous areas. Such areas have little or no soil material
  and support little or no vegetation. Rock outcrop is an example.


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Pulaski County, Arkansas

         Ko—Keo silt loam, 0 to 1 percent slopes, rarely flooded

           Map Unit Setting
               National map unit symbol: 2tzrw
               Elevation: 180 to 210 feet
               Mean annual precipitation: 43 to 63 inches
               Mean annual air temperature: 50 to 75 degrees F
               Frost-free period: 200 to 260 days
               Farmland classification: All areas are prime farmland

           Map Unit Composition
               Keo and similar soils: 95 percent
               Minor components: 5 percent
               Estimates are based on observations, descriptions, and transects of the mapunit.

           Description of Keo
             Setting
                  Landform: Flood plains
                  Landform position (three-dimensional): Talf
                  Down-slope shape: Linear
                  Across-slope shape: Linear
                  Parent material: Loamy alluvium
             Typical profile
                  Ap - 0 to 10 inches: silt loam
                  Bw - 10 to 38 inches: silt loam
                  2Ab - 38 to 41 inches: very fine sandy loam
                  3C - 41 to 52 inches: silt loam
                  4Ab - 52 to 60 inches: silt loam
             Properties and qualities
                 Slope: 0 to 1 percent
                 Depth to restrictive feature: More than 80 inches
                 Natural drainage class: Well drained
                 Runoff class: Negligible
                 Capacity of the most limiting layer to transmit water (Ksat): Moderately high to high
                      (0.57 to 1.98 in/hr)
                 Depth to water table: More than 80 inches
                 Frequency of flooding: Rare
                 Frequency of ponding: None
                 Salinity, maximum in profile: Nonsaline (0.0 to 1.0 mmhos/cm)
                 Available water storage in profile: High (about 10.2 inches)
             Interpretive groups
                  Land capability classification (irrigated): None specified
                  Land capability classification (nonirrigated): 1
                  Hydrologic Soil Group: B

           Minor Components
             Unnamed, hydric
                 Percent of map unit: 5 percent
                 Landform: Flood plains, coastal plains


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            Landform position (three-dimensional): Talf
            Down-slope shape: Linear
            Across-slope shape: Linear




    Ku—Keo-Urban land complex

     Map Unit Setting
         National map unit symbol: m04t
         Elevation: 180 to 210 feet
         Mean annual precipitation: 43 to 58 inches
         Mean annual air temperature: 50 to 72 degrees F
         Frost-free period: 200 to 260 days
         Farmland classification: Not prime farmland

     Map Unit Composition
         Keo and similar soils: 50 percent
         Urban land: 40 percent
         Minor components: 10 percent
         Estimates are based on observations, descriptions, and transects of the mapunit.

     Description of Keo
       Setting
            Landform: Flood plains
            Down-slope shape: Linear
            Across-slope shape: Linear
            Parent material: Loamy alluvium
       Typical profile
            Ap - 0 to 10 inches: silt loam
            Bw - 10 to 38 inches: silt loam
            2Ab - 38 to 41 inches: very fine sandy loam
            3C - 41 to 52 inches: silt loam
            4Ab - 52 to 60 inches: silt loam
       Properties and qualities
           Slope: 0 to 1 percent
           Depth to restrictive feature: More than 80 inches
           Natural drainage class: Well drained
           Runoff class: Negligible
           Capacity of the most limiting layer to transmit water (Ksat): Moderately high to high
                (0.57 to 1.98 in/hr)
           Depth to water table: More than 80 inches
           Frequency of flooding: Rare
           Frequency of ponding: None
           Available water storage in profile: High (about 10.2 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 1
            Hydrologic Soil Group: B


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     Minor Components
       Aquents
           Percent of map unit: 10 percent
           Landform: Depressions
           Down-slope shape: Concave
           Across-slope shape: Convex




    LdB—Leadvale-Urban land complex, 1 to 3 percent slopes

     Map Unit Setting
         National map unit symbol: m04x
         Elevation: 1,700 to 2,300 feet
         Mean annual precipitation: 43 to 58 inches
         Mean annual air temperature: 50 to 72 degrees F
         Frost-free period: 200 to 260 days
         Farmland classification: Not prime farmland

     Map Unit Composition
         Leadvale and similar soils: 50 percent
         Urban land: 40 percent
         Minor components: 10 percent
         Estimates are based on observations, descriptions, and transects of the mapunit.

     Description of Leadvale
       Setting
            Landform: Valleys
            Landform position (two-dimensional): Toeslope
            Down-slope shape: Concave
            Across-slope shape: Linear
            Parent material: Loamy pedisediment
       Typical profile
            Ap - 0 to 7 inches: silt loam
            Bt - 7 to 16 inches: silt loam
            Btx1 - 16 to 48 inches: silt loam
            Btx2 - 48 to 72 inches: silty clay loam
       Properties and qualities
           Slope: 1 to 3 percent
           Depth to restrictive feature: 12 to 20 inches to fragipan; 48 to 60 inches to paralithic
                bedrock
           Natural drainage class: Moderately well drained
           Runoff class: Low
           Capacity of the most limiting layer to transmit water (Ksat): Moderately low to
                moderately high (0.06 to 0.57 in/hr)
           Depth to water table: About 16 to 30 inches
           Frequency of flooding: None
           Frequency of ponding: None


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            Available water storage in profile: Low (about 3.1 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 2e
            Hydrologic Soil Group: D

     Minor Components
       Guthrie
           Percent of map unit: 10 percent
           Landform: Depressions
           Down-slope shape: Concave
           Across-slope shape: Convex




    LdC—Leadvale-Urban land complex, 3 to 8 percent slopes

     Map Unit Setting
         National map unit symbol: m04y
         Elevation: 1,700 to 2,300 feet
         Mean annual precipitation: 43 to 58 inches
         Mean annual air temperature: 50 to 72 degrees F
         Frost-free period: 200 to 260 days
         Farmland classification: Not prime farmland

     Map Unit Composition
         Leadvale and similar soils: 50 percent
         Urban land: 40 percent
         Minor components: 10 percent
         Estimates are based on observations, descriptions, and transects of the mapunit.

     Description of Leadvale
       Setting
            Landform: Valley sides
            Landform position (two-dimensional): Footslope
            Landform position (three-dimensional): Base slope
            Down-slope shape: Concave
            Across-slope shape: Linear
            Parent material: Loamy pedisediment
       Typical profile
            Ap - 0 to 7 inches: silt loam
            Bt - 7 to 16 inches: silt loam
            Btx1 - 16 to 48 inches: silt loam
            Btx2 - 48 to 72 inches: silty clay loam
       Properties and qualities
           Slope: 3 to 8 percent
           Depth to restrictive feature: 12 to 20 inches to fragipan; 48 to 60 inches to paralithic
                bedrock



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            Natural drainage class: Moderately well drained
            Runoff class: Medium
            Capacity of the most limiting layer to transmit water (Ksat): Moderately low to
                moderately high (0.06 to 0.57 in/hr)
            Depth to water table: About 16 to 30 inches
            Frequency of flooding: None
            Frequency of ponding: None
            Available water storage in profile: Low (about 3.1 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 3e
            Hydrologic Soil Group: D

     Minor Components
       Guthrie
           Percent of map unit: 10 percent
           Landform: Depressions
           Down-slope shape: Concave
           Across-slope shape: Convex




    Me—Moreland silty clay

     Map Unit Setting
         National map unit symbol: m054
         Elevation: 10 to 100 feet
         Mean annual precipitation: 43 to 58 inches
         Mean annual air temperature: 50 to 72 degrees F
         Frost-free period: 200 to 260 days
         Farmland classification: All areas are prime farmland

     Map Unit Composition
         Moreland and similar soils: 90 percent
         Minor components: 10 percent
         Estimates are based on observations, descriptions, and transects of the mapunit.

     Description of Moreland
       Setting
            Landform: Slackwater areas
            Down-slope shape: Concave
            Across-slope shape: Linear
            Parent material: Clayey alluvium
       Typical profile
            Ap - 0 to 8 inches: silty clay
            Bw1 - 8 to 32 inches: silty clay
            Bw2 - 32 to 41 inches: silty clay
            2C - 41 to 43 inches: silty clay loam
            3Ab - 43 to 58 inches: silty clay loam


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              4C - 58 to 72 inches: loamy sand
        Properties and qualities
            Slope: 0 to 1 percent
            Depth to restrictive feature: More than 80 inches
            Natural drainage class: Somewhat poorly drained
            Runoff class: Low
            Capacity of the most limiting layer to transmit water (Ksat): Very low to moderately
                 low (0.00 to 0.06 in/hr)
            Depth to water table: About 0 to 18 inches
            Frequency of flooding: None
            Frequency of ponding: None
            Available water storage in profile: High (about 9.5 inches)
        Interpretive groups
             Land capability classification (irrigated): None specified
             Land capability classification (nonirrigated): 3w
             Hydrologic Soil Group: D

      Minor Components
        Perry
             Percent of map unit: 5 percent
             Landform: Backswamps
             Down-slope shape: Concave
             Across-slope shape: Convex
        Aquents
            Percent of map unit: 5 percent
            Landform: Depressions
            Down-slope shape: Concave
            Across-slope shape: Convex




    Pe—Perry clay, 0 to 1 percent slopes, rarely flooded

      Map Unit Setting
          National map unit symbol: 2rxgz
          Elevation: 40 to 150 feet
          Mean annual precipitation: 41 to 62 inches
          Mean annual air temperature: 55 to 75 degrees F
          Frost-free period: 230 to 283 days
          Farmland classification: Prime farmland if drained and either protected from flooding
              or not frequently flooded during the growing season

      Map Unit Composition
          Perry and similar soils: 90 percent
          Minor components: 10 percent
          Estimates are based on observations, descriptions, and transects of the mapunit.




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      Description of Perry
        Setting
             Landform: Natural levees
             Down-slope shape: Concave
             Across-slope shape: Linear
             Parent material: Clayey alluvium
        Typical profile
             Ap - 0 to 6 inches: clay
             Bssg - 6 to 31 inches: clay
             2Bss - 31 to 60 inches: clay
        Properties and qualities
            Slope: 0 to 1 percent
            Depth to restrictive feature: More than 80 inches
            Natural drainage class: Poorly drained
            Capacity of the most limiting layer to transmit water (Ksat): Very low to moderately
                 low (0.00 to 0.06 in/hr)
            Depth to water table: About 0 to 24 inches
            Frequency of flooding: Rare
            Frequency of ponding: None
            Available water storage in profile: Moderate (about 9.0 inches)
        Interpretive groups
             Land capability classification (irrigated): None specified
             Land capability classification (nonirrigated): 3w
             Hydrologic Soil Group: D

      Minor Components
        Unnamed
            Percent of map unit: 10 percent




    RmA—Rilla silt loam, 0 to 1 percent slopes

      Map Unit Setting
          National map unit symbol: 2s1z3
          Elevation: 50 to 100 feet
          Mean annual precipitation: 41 to 62 inches
          Mean annual air temperature: 55 to 75 degrees F
          Frost-free period: 230 to 283 days
          Farmland classification: All areas are prime farmland

      Map Unit Composition
          Rilla and similar soils: 90 percent
          Minor components: 10 percent
          Estimates are based on observations, descriptions, and transects of the mapunit.




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     Description of Rilla
       Setting
            Landform: Natural levees
            Landform position (three-dimensional): Rise
            Down-slope shape: Linear
            Across-slope shape: Concave
            Parent material: Loamy alluvium
       Typical profile
            Ap - 0 to 7 inches: silt loam
            Bt - 7 to 33 inches: silt loam
            BC - 33 to 54 inches: silt loam
            C - 54 to 80 inches: silt loam
       Properties and qualities
           Slope: 0 to 1 percent
           Depth to restrictive feature: More than 80 inches
           Natural drainage class: Well drained
           Runoff class: Negligible
           Capacity of the most limiting layer to transmit water (Ksat): Moderately high to high
                (0.57 to 1.98 in/hr)
           Depth to water table: About 48 to 72 inches
           Frequency of flooding: None
           Frequency of ponding: None
           Calcium carbonate, maximum in profile: 5 percent
           Salinity, maximum in profile: Nonsaline (0.0 to 0.9 mmhos/cm)
           Available water storage in profile: Very high (about 12.6 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 2e
            Hydrologic Soil Group: B

     Minor Components
       Hebert, rarely flooded
           Percent of map unit: 5 percent
           Landform: Natural levees
           Landform position (three-dimensional): Tread
           Down-slope shape: Linear
           Across-slope shape: Linear
       Unnamed, hydric
           Percent of map unit: 5 percent
           Landform: Levees
           Landform position (three-dimensional): Tread, dip
           Down-slope shape: Linear
           Across-slope shape: Linear




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    RuA—Rilla-Urban land complex, 0 to 1 percent slopes

     Map Unit Setting
         National map unit symbol: m05j
         Elevation: 50 to 100 feet
         Mean annual precipitation: 43 to 58 inches
         Mean annual air temperature: 50 to 72 degrees F
         Frost-free period: 200 to 260 days
         Farmland classification: Not prime farmland

     Map Unit Composition
         Rilla and similar soils: 50 percent
         Urban land: 40 percent
         Minor components: 10 percent
         Estimates are based on observations, descriptions, and transects of the mapunit.

     Description of Rilla
       Setting
            Landform: Natural levees
            Down-slope shape: Convex
            Across-slope shape: Convex
            Parent material: Loamy alluvium
       Typical profile
            Ap - 0 to 7 inches: silt loam
            Bt - 7 to 33 inches: silt loam
            BC - 33 to 54 inches: silt loam
            C - 54 to 72 inches: silt loam
       Properties and qualities
           Slope: 0 to 1 percent
           Depth to restrictive feature: More than 80 inches
           Natural drainage class: Well drained
           Runoff class: Negligible
           Capacity of the most limiting layer to transmit water (Ksat): Moderately high to high
                (0.57 to 1.98 in/hr)
           Depth to water table: About 48 to 72 inches
           Frequency of flooding: None
           Frequency of ponding: None
           Calcium carbonate, maximum in profile: 5 percent
           Available water storage in profile: Very high (about 12.6 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 1
            Hydrologic Soil Group: B




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     Minor Components
       Aquents
           Percent of map unit: 10 percent
           Landform: Depressions
           Down-slope shape: Concave
           Across-slope shape: Convex




    SuC—Smithdale-Urban land complex, 3 to 8 percent slopes

     Map Unit Setting
         National map unit symbol: m05s
         Mean annual precipitation: 43 to 58 inches
         Mean annual air temperature: 50 to 72 degrees F
         Frost-free period: 200 to 260 days
         Farmland classification: Not prime farmland

     Map Unit Composition
         Urban land: 50 percent
         Smithdale and similar soils: 50 percent
         Estimates are based on observations, descriptions, and transects of the mapunit.

     Description of Smithdale
       Setting
            Landform: Interfluves
            Down-slope shape: Linear
            Across-slope shape: Convex
            Parent material: Loamy marine deposits
       Typical profile
            Ap - 0 to 5 inches: fine sandy loam
            Bt1 - 5 to 16 inches: clay loam
            Bt2 - 16 to 72 inches: sandy loam
       Properties and qualities
           Slope: 3 to 8 percent
           Depth to restrictive feature: More than 80 inches
           Natural drainage class: Well drained
           Runoff class: Low
           Capacity of the most limiting layer to transmit water (Ksat): Moderately high to high
                (0.57 to 1.98 in/hr)
           Depth to water table: More than 80 inches
           Frequency of flooding: None
           Frequency of ponding: None
           Available water storage in profile: High (about 9.1 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 3e



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             Hydrologic Soil Group: B




    TaB—Tiak fine sandy loam, 1 to 3 percent slopes

      Map Unit Setting
          National map unit symbol: m05t
          Mean annual precipitation: 43 to 58 inches
          Mean annual air temperature: 50 to 72 degrees F
          Frost-free period: 200 to 260 days
          Farmland classification: All areas are prime farmland

      Map Unit Composition
          Tiak and similar soils: 95 percent
          Minor components: 5 percent
          Estimates are based on observations, descriptions, and transects of the mapunit.

      Description of Tiak
        Setting
             Landform: Interfluves
             Down-slope shape: Convex
             Across-slope shape: Linear
             Parent material: Loamy and clayey marine deposits
        Typical profile
             A - 0 to 3 inches: fine sandy loam
             E - 3 to 9 inches: loam
             Bt1 - 9 to 36 inches: silty clay
             Bt2 - 36 to 72 inches: silty clay
        Properties and qualities
            Slope: 1 to 3 percent
            Depth to restrictive feature: More than 80 inches
            Natural drainage class: Moderately well drained
            Runoff class: Low
            Capacity of the most limiting layer to transmit water (Ksat): Moderately low to
                 moderately high (0.06 to 0.20 in/hr)
            Depth to water table: About 12 to 24 inches
            Frequency of flooding: None
            Frequency of ponding: None
            Available water storage in profile: High (about 9.1 inches)
        Interpretive groups
             Land capability classification (irrigated): None specified
             Land capability classification (nonirrigated): 3e
             Hydrologic Soil Group: C/D

      Minor Components
        Aquults
            Percent of map unit: 5 percent
            Landform: Depressions
            Down-slope shape: Concave


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             Across-slope shape: Convex




    W—Water

      Map Unit Setting
          National map unit symbol: m05y
          Mean annual precipitation: 43 to 58 inches
          Mean annual air temperature: 50 to 72 degrees F
          Frost-free period: 200 to 260 days
          Farmland classification: Not prime farmland

      Map Unit Composition
          Water: 100 percent
          Estimates are based on observations, descriptions, and transects of the mapunit.




    Wt—Wrightsville silt loam

      Map Unit Setting
          National map unit symbol: m05z
          Elevation: 120 to 250 feet
          Mean annual precipitation: 43 to 58 inches
          Mean annual air temperature: 50 to 72 degrees F
          Frost-free period: 200 to 260 days
          Farmland classification: Prime farmland if drained

      Map Unit Composition
          Wrightsville and similar soils: 95 percent
          Minor components: 5 percent
          Estimates are based on observations, descriptions, and transects of the mapunit.

      Description of Wrightsville
        Setting
             Landform: Stream terraces
             Landform position (three-dimensional): Tread
             Down-slope shape: Concave
             Across-slope shape: Linear
             Parent material: Silty and clayey alluvium
        Typical profile
             A - 0 to 3 inches: silt loam
             Eg - 3 to 24 inches: silt loam
             B/Etg - 24 to 62 inches: silty clay
             B/Eg - 62 to 69 inches: clay
             2C - 69 to 72 inches: clay
        Properties and qualities
            Slope: 0 to 1 percent


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            Depth to restrictive feature: More than 80 inches
            Natural drainage class: Poorly drained
            Runoff class: Low
            Capacity of the most limiting layer to transmit water (Ksat): Very low to moderately
                low (0.00 to 0.06 in/hr)
            Depth to water table: About 5 to 12 inches
            Frequency of flooding: None
            Frequency of ponding: None
            Available water storage in profile: High (about 11.3 inches)
       Interpretive groups
            Land capability classification (irrigated): None specified
            Land capability classification (nonirrigated): 3w
            Hydrologic Soil Group: D

     Minor Components
       Aqualfs
           Percent of map unit: 5 percent
           Landform: Depressions
           Down-slope shape: Concave
           Across-slope shape: Convex




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Dr. Jerry Overton Expert Report




                                  Appendix F
                              Site Visit Photographs
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                    Site Visit - November 12, 2015




 Photo 1. Waste Management crossing – North of I-440. Shot to north along Union Pacific Railroad grade.




  Photo 2. Waste Management North at crossing. Shot to northwest along Union Pacific Railroad grade.
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Photo 3. Waste Management cover soil excavation site east of crossing. Shot from Union Pacific Railroad grade to east.




           Photo 4. I-440 overpass in background. Shot from Union Pacific Railroad grade to the southeast.
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             Photo 5. View north along Union Pacific Railroad grade toward I-440.




        Photo 6. East of Union Pacific Railroad at edge of grade. Shot near I-440 overpass.
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                  Photo 7. East of Union Pacific Railroad at edge of grade. Shot near I-440 overpass.




Photo 8. East of Union Pacific Railroad at edge of grade. Only fresh sign of beaver along railroad grade east of railroad.
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Photo 9. Union Pacific trestle at south corner of Waste Management, south side of trestle. Later surveyed to be 1.4 feet amsl of
                                       clearance between top of concrete opening and silt.




               Photo 10. East of Union Pacific Railroad at edge of grade. Shot near rear of White Bag facility.
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           Photo 11. East of Union Pacific Railroad at edge of grade. Shot near rear of White Bag facility.




Photo 12. East of Union Pacific Railroad at edge of grade. Shot near Union Pacific trestle. Signs of old beaver activity.
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Photo 13. Union Pacific Railroad track with Waste Management in background. Shot to north from between railroad tracks.




  Photo 14. Union Pacific Railroad track with Waste Management in background. Shot to northeast from railroad track.
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Photo 15. Union Pacific trestle south side - shot from the south showing clearance between top of concrete opening and silt and
  debris at approximately 8 inches. Survey later determined the depth of silt to be 3.6 feet amsl from the base of the trestle.
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                Photo 16. Shot to the east from Union Pacific trestle.




                Photo 17. Union Pacific trestle south side of railroad.
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 Photo 18. Union Pacific Railroad trestle site. Shot to south showing debris removed from the trestle opening and piled adjacent
                 to the bridge. Silt debris is loose and subject to erosion back into the silt clogging the trestle.




Photo 19. . Union Pacific trestle site. Shot to northeast showing debris removed from the trestle opening and piled adjacent to the
            bridge and standing water. Silt debris is loose and subject to erosion back into the silt clogging the trestle.
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Photo 20. Union Pacific trestle site. Shot to northeast showing debris removed from the trestle opening and piled adjacent to the
           bridge and standing water. Silt debris is loose and subject to erosion back into the silt clogging the trestle.




Photo 21. Union Pacific Railroad trestle - north side of trestle, adjacent to Waste Management property; clearance between silt
                               and top of concrete opening was surveyed to be 3.06 feet amsl.
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Photo 22. Shot from Union Pacific Railroad trestle to northwest along Waste Management drainage. Signs of recent cleaning of
                                              drainage by Waste Management.
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Photo 23. Shot from Union Pacific Railroad trestle to the northwest along Waste Management drainage. Signs of recent cleaning
                                             of drainage by Waste Management.
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                        Photo 20. Waste Management landfill from Union Pacific Railroad grade.




Photo 21. Shot from Union Pacific trestle to west along Waste Management drainage. Signs of recent cleaning of drainage by
                                                     Waste Management.
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       Photo 22. I-440 overpass from the Union Pacific Railroad grade. Shot to the northeast.




       Photo 23. I-440 overpass from the Union Pacific Railroad grade. Shot to the northeast.
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             Photo 24. I-440 overpass. Shot to east from Union Pacific Railroad grade.




      Photo 25. . I-440 overpass from the Union Pacific Railroad grade. Shot to the northeast.
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Photo 26. . I-440 overpass from the Union Pacific Railroad grade. Shot to the north parallel to railroad grade. Waste
                     Management crossing and excavation in background past I-440 overpass.




  Photo 27. Waste Management excavation in background. Shot to northeast from Union Pacific Railroad grade.
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          Photo 28. Union Pacific Railroad grade facing north along grade. Shot from beneath I-440 overpass.




Photo 29. Union Pacific Railroad grade facing northwest. Shot from beneath I-440 overpass. Waste Management North in
                                                     background.
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  Photo 30. Waste Management excavation in background. Shot to northeast from Union Pacific Railroad grade. Farthest north
  extent of drainage to watershed draining through Union Pacific Railroad trestle near southeast corner of Waste Management
                                                           landfill.




 Photo 31. Waste Management crossing on east side of Union Pacific Railroad. Shot from Union Pacific Railroad grade to north
parallel to grade. Farthest north extent of drainage to watershed draining through Union Pacific Railroad trestle near south corner
                                                   of Waste Management landfill.
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          Survey Photos - December 17, 2015




                         Photo 32. View of trestle from the south.




              Photo 33. Silt, debris, and water level at south mouth of trestle.
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Photo 34. View of the northern mouth of the trestle from the Waste Management drainage ditch. Note accumulated debris.




                     Photo 35. View of the culvert underneath the Waste Management road.
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                 Photo 36. Confirmation of diameter of CMP culvert.
